USCA Case #25-5202   Document #2118491         Filed: 06/02/2025   Page 1 of 93



                              No. 25-5202


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


       LEARNING RESOURCES, INC., and HAND2MIND, INC.,
                                         Plaintiffs-Appellees,
                                  v.
             DONALD J. TRUMP, in his official capacity as
                President of the United States, et al.,
                                         Defendants-Appellants.


            On Appeal from the United States District Court
                    for the District of Columbia


      EMERGENCY MOTION FOR A STAY PENDING APPEAL


                                    YAAKOV M. ROTH
                                     Acting Assistant Attorney General
                                    MARK R. FREEMAN
                                    MICHAEL S. RAAB
                                    BRAD HINSHELWOOD
                                    DANIEL WINIK
                                      Attorneys, Appellate Staff
                                      Civil Division, Room 7245
                                      U.S. Department of Justice
                                      950 Pennsylvania Avenue NW
                                      Washington, DC 20530
                                      (202) 305-8849
USCA Case #25-5202       Document #2118491      Filed: 06/02/2025   Page 2 of 93



  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      A.    Parties and Amici

      Plaintiffs are Learning Resources, Inc. and hand2mind, Inc. Defend-

ants are Donald J. Trump, in his official capacity as President of the United

States; Kristi Noem, in her official capacity as Secretary of Homeland Secu-

rity; the U.S. Department of Homeland Security; Scott Bessent, in his official

capacity as Secretary of the Treasury; the U.S. Department of the Treasury;

Howard Lutnick, in his official capacity as Secretary of Commerce; the U.S.

Department of Commerce; Pete R. Flores, in his official capacity as Acting

Commissioner of Customs & Border Protection; U.S. Customs & Border Pro-

tection; Jamieson Greer, in his official capacity as U.S. Trade Representative;

and the Office of the U.S. Trade Representative. America First Legal Foun-

dation; Emily Ley Paper, Inc., doing business as Simplified; Kilo Brava LLC;

Bambola LLC; Kim’s Clothes and Fashion LLC; Rokland LLC; George F. Al-

len; Steven G. Calabresi; Joshua A. Claybourn; John C. Danforth; Richard A.

Epstein; Charles T. Hagel; Harold Hongju Koh; Gerard N. Magliocca; Mi-

chael W. McConnell; Michael B. Mukasey; Alan O. Sykes; John Daniel Tin-

der; Peter J. Wallison; and Philip Zelikow participated before the district

court as amici curiae.
USCA Case #25-5202     Document #2118491        Filed: 06/02/2025   Page 3 of 93



      B.    Ruling Under Review

      The ruling under review is a memorandum opinion (Dkt. 37) and or-

der (Dkt. 35) issued by the district court on May 29, 2025, granting a prelim-

inary injunction. The opinion and order are attached to this motion.

      C.    Related Cases

      This case has not previously been before this Court or any other court

other than the district court. We are not aware of any related cases within

the meaning of the Court’s Rule 28(a)(1)(C). Challenges to the tariffs at issue

are pending before other courts, including the U.S. Court of Appeals for the

Federal Circuit (on appeal from the U.S. Court of International Trade).

                                           MARK R. FREEMAN
                                           MICHAEL S. RAAB
                                           BRAD HINSHELWOOD

                                           /s/ Daniel Winik
                                           DANIEL WINIK
                                             Attorneys, Appellate Staff
                                             Civil Division, Room 7245
                                             U.S. Department of Justice
                                             950 Pennsylvania Avenue NW
                                             Washington, DC 20530
                                             (202) 305-8849
USCA Case #25-5202                Document #2118491                      Filed: 06/02/2025             Page 4 of 93



                                       TABLE OF CONTENTS

                                                                                                                Page

STATEMENT .......................................................................................................... 4

         A.       Statutory Background ........................................................................4

         B.       Factual Background ...........................................................................6

         C.       This Litigation .....................................................................................9

ARGUMENT ......................................................................................................... 10

I.       The Government Is Likely To Prevail On The Merits .......................... 10

         A.       The District Court Lacked Jurisdiction .........................................10

         B.       IEEPA Clearly Authorizes Tariffs ..................................................14

II.      The Equitable Factors Favor A Stay ........................................................ 23

CONCLUSION ..................................................................................................... 26

CERTIFICATE OF COMPLIANCE

ADDENDUM
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 5 of 93



      Congress has long delegated to the President broad powers to impose

tariffs in a wide range of circumstances, including to address national emer-

gencies under the International Emergency Economic Powers Act (IEEPA).

In April 2025, President Trump declared that numerous acute emergencies,

ranging from America’s exploding trade deficit to the crisis of fentanyl im-

portation, should be dealt with by imposing tariffs on the responsible foreign

parties. No one in this litigation disputes—and no court has questioned—

that the President validly declared these emergencies under IEEPA and the

National Emergencies Act (NEA). The President deemed the tariffs neces-

sary to correct decades of trade imbalances and asymmetrical tariffs against

America; to eliminate the drain of trillions of dollars from America’s econ-

omy; to reorient the global economy on a more equitable basis; to strengthen

the United States’s defense-industrial base to avoid compromising national-

security functions; and to induce Mexico, Canada, and the People’s Republic

of China (PRC) to stem the deadly tide of fentanyl and other drugs into our

country.

      These tariffs have prompted dozens of countries to negotiate with the

United States to realize historic trade deals. And the combination of tariffs

and future trading agreements has also yielded collateral diplomatic benefits
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 6 of 93



for global crises—for instance, by facilitating President Trump’s successful

intercession in the burgeoning conflict between nuclear powers India and

Pakistan. A55 (Commerce Secretary).1

      Yet the district court issued a legally indefensible preliminary injunc-

tion, declaring that IEEPA does not authorize any tariffs at all—even though

IEEPA incorporates the same language that Congress has used to authorize

other broad tariffs. That interpretation contravenes IEEPA’s text, structure,

and history, as well as precedent. And it defies the separation of powers,

overriding Congress’s decision to delegate broad tariff authority to the Pres-

ident—as Congress has done since the dawn of the Republic—and hobbling

IEEPA as an international diplomatic tool.

      Worse, the district court plainly lacked jurisdiction to rule on these is-

sues at all. The Court of International Trade (CIT) has “exclusive jurisdic-

tion” over “any civil action commenced against” the federal government

“that arises out of any law of the United States providing for … tariffs” or

for “revenue from imports.” 28 U.S.C. § 1581(i)(1), (i)(1)(A), (B). Five days

ago, the CIT held that it had exclusive jurisdiction over a virtually identical




      1 A__ citations refer to the addendum.



                                     -2-
USCA Case #25-5202      Document #2118491        Filed: 06/02/2025    Page 7 of 93



challenge because “a challenge to a presidential action that imposes tariffs,

duties, or other import restrictions is one that arises from a ‘law providing

for’ those measures.” V.O.S. Selections, Inc. v. United States, 2025 WL 1514124,

at *7-8 (Ct. Int’l Trade May 28, 2025). And this Court has repeatedly held that

the CIT, not district courts, must resolve jurisdictional disputes.

       Although the district court limited its injunction to the parties and de-

layed enforcement until June 12, a further stay pending appeal is imperative.

By holding the tariffs invalid, the district court’s ruling usurps the Presi-

dent’s authority and threatens to disrupt sensitive, ongoing negotiations

with virtually every trading partner by undercutting the premise of those

negotiations—that the tariffs are a credible threat. Those negotiations cur-

rently stand at a delicate juncture, as four Cabinet members’ declarations

underscore. Meanwhile, plaintiffs face no harm from a stay; they can fully

remedy any harms by obtaining a refund of any tariffs ultimately held inva-

lid.

       To permit the Solicitor General to seek relief from the Supreme Court

if necessary, the government respectfully requests that the Court grant at

least an administrative stay by June 6—six days before the district court’s

stay will expire—and continue the administrative stay for seven days after

                                      -3-
USCA Case #25-5202      Document #2118491          Filed: 06/02/2025   Page 8 of 93



any denial of this motion. Plaintiffs have informed us that they oppose this

motion and intend to file a response on whatever schedule the Court orders.

                                 STATEMENT

      A.    Statutory Background

      1.    Congress has long delegated to the President broad authority to

regulate importation during national emergencies. The 1917 Trading With

the Enemy Act (TWEA), Pub. L. No. 65-91, 40 Stat. 411, authorized the Pres-

ident to “regulat[e]” “import[ation]” of foreign goods during wartime. Id.

§ 11, 40 Stat. at 422-423. Later, Congress amended TWEA to allow the Pres-

ident to “regulate … importation” of foreign goods not just in wartime but

“during any other period of national emergency” he declares. First War

Powers Act, Pub. L. No. 77-354, tit. III, § 301, 55 Stat. 838, 839-840 (1941).

      TWEA enabled President Nixon to impose a supplemental 10% tariff

on eligible goods to address a balance-of-payments deficit. Pres. Proc. No.

4074, 85 Stat. 926 (1971). The Federal Circuit’s predecessor upheld those tar-

iffs. United States v. Yoshida Int’l, Inc., 526 F.2d 560 (C.C.P.A. 1975).

      2.    In the 1970s, Congress revised the TWEA framework through

two statutes. First, the National Emergencies Act (NEA), Pub. L. No. 94-412,

90 Stat. 1255 (1976), “authorize[s]” the President “to declare [a] national


                                       -4-
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 9 of 93



emergency” for the purpose of all “Acts of Congress authorizing the exer-

cise, during the period of a national emergency, of any special or extraordi-

nary power.” 50 U.S.C. § 1621(a).

      The NEA does not substantively limit the grounds for emergency dec-

larations.   Instead, Congress retained oversight of such determinations

through its power to “terminate[]” a declared emergency through “a joint

resolution,” 50 U.S.C. § 1622(a)(1), on a set timetable, id. § 1622(b). Other-

wise, an emergency “terminate[s] on the anniversary of the declaration” ab-

sent a renewed Presidential determination. Id. § 1622(d).

      Second, Congress removed the President’s peacetime emergency pow-

ers under TWEA, Pub. L. No. 95-223, § 101(a), 91 Stat. 1625, 1625 (1977), and

replaced them with IEEPA, id. tit. II, §§ 201-208, 91 Stat. at 1626-1629.

IEEPA’s operative provision, “directly drawn” from TWEA, Dames & Moore

v. Regan, 453 U.S. 654, 671-672 (1981), authorizes the President to “regulate

… any … importation … of … any property in which any foreign country or

a national thereof has any interest … or … any property[] subject to the ju-

risdiction of the United States.” 50 U.S.C. § 1702(a)(1)(B).

      Section 1702 confers “essentially the same” authority as TWEA,

though IEEPA specifies somewhat “different” “conditions and procedures

                                     -5-
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 10 of 93



for” exercising that authority. Regan v. Wald, 468 U.S. 222, 228 (1984). IEEPA

provides that the President’s § 1702 authority “may be exercised to deal with

any unusual and extraordinary threat, which has its source in whole or sub-

stantial part outside the United States, to the national security, foreign pol-

icy, or economy of the United States, if the President declares a national

emergency with respect to such threat.” 50 U.S.C. § 1701(a).

      B.    Factual Background

      1.    In January 2025, the President declared the flow of contraband

drugs like fentanyl, and the resulting public-health crisis, to be a national

emergency. Pres. Proc. 10,886, 90 Fed. Reg. 8,327 (Jan. 20, 2025). The Presi-

dent later “expand[ed] the scope of the national emergency” to include con-

duct by the PRC. Exec. Order No. 14,195, 90 Fed. Reg. 9,121 (Feb. 7, 2025).

The President found that the PRC has supported the exportation of fentanyl

and opioid precursors by chemical companies, that many such companies

“go to great lengths to evade law enforcement”; and that “[t]he flow of con-

traband drugs like fentanyl to the United States through illicit distribution

networks has created a national emergency.” Id. at 9,121.

      The President determined that the PRC’s conduct “constitutes an un-

usual and extraordinary” foreign threat “to the national security, foreign


                                     -6-
USCA Case #25-5202     Document #2118491          Filed: 06/02/2025   Page 11 of 93



policy, and economy of the United States.” Id. at 9,122. He accordingly im-

posed a 10% duty on most PRC imports, id. at 9,122-9,123, then increased the

duty to 20% when he determined that “the PRC has not taken adequate steps

to alleviate the illicit drug crisis,” Exec. Order. No. 14,228, 90 Fed. Reg.

11,463, 11,463 (Mar. 7, 2025). The President later imposed duties on low-

value PRC imports, finding that many PRC-based shippers “hide illicit sub-

stances and conceal the true contents of shipments sent to the United States,”

strategies that may “avoid detection” absent tariffs. Exec. Order. No. 14,256,

90 Fed. Reg. 14,899, 14,899 (Apr. 7, 2025).

      2.    The President declared an additional emergency in April, citing

“a lack of reciprocity in our bilateral trade relationships, disparate tariff rates

and non-tariff barriers, and U.S. trading partners’ economic policies that

suppress domestic wages and consumption, as indicated by large and per-

sistent annual U.S. goods trade deficits.” Exec. Order No. 14,257, 90 Fed.

Reg. 15,041, 15,041 (Apr. 2, 2025). The President determined that “large and

persistent annual U.S. goods trade deficits have led to the hollowing out of

our manufacturing base” and a litany of other serious harms—deficits

“caused in substantial part by a lack of reciprocity in our bilateral trade re-

lationships.” Id. To deal with this threat, the President deemed it necessary

                                       -7-
USCA Case #25-5202      Document #2118491        Filed: 06/02/2025   Page 12 of 93



to impose a 10% tariff “on all imports from all trading partners,” with certain

exceptions. Id. at 15,045. The President then imposed additional country-

specific tariffs. Id.

      Based on changed circumstances, the President later took additional

actions he deemed necessary to address this emergency. On April 9, citing

many countries’ steps toward remedying the emergency, the President sus-

pended most country-specific tariffs for 90 days. Exec. Order No. 14,266, 90

Fed. Reg. 15,625, 15,626 (Apr. 15, 2025). The United States has since an-

nounced terms of a trade deal with the United Kingdom “that was negoti-

ated in reliance on the President’s emergency tariff authority,” and is “par-

ticipating in dozens of ongoing negotiations with foreign-trading partners”

similarly reliant on that authority. A52, A54.

      But the President raised the tariff rate for PRC imports to respond to

PRC retaliation. Id.; see Exec. Order No. 14,259, 90 Fed. Reg. 15,509 (Apr. 14,

2025). Later, the President suspended the additional PRC tariffs for 90 days,

recognizing the PRC’s “intentions” to “facilitate addressing the national

emergency.” Exec. Order No. 14,298, 90 Fed. Reg. 21,831 (May 21, 2025).




                                     -8-
USCA Case #25-5202      Document #2118491       Filed: 06/02/2025   Page 13 of 93



      C.    This Litigation

      Plaintiffs challenged the tariffs discussed above based on their claim

to import goods from China and other countries affected by tariffs. Dkt. 1

¶¶ 61-63. They sought preliminary injunctive and declaratory relief. The

government moved to transfer the case to the CIT because it possesses ex-

clusive jurisdiction.

      The district court denied transfer and granted a preliminary injunc-

tion. A3-35. It interpreted § 1581(i)(1) to condition jurisdiction over chal-

lenges to tariffs imposed under IEEPA on whether, on the merits, “IEEPA is

a ‘law … providing for’ ‘tariffs, duties, fees or other taxes on the importation

of merchandise for reasons other than the raising of revenue.’” A15. The

court then concluded that IEEPA does not allow any tariffs—directly contra-

dicting the CIT’s ruling the day before that IEEPA does authorize some tar-

iffs. A18-30.

      On the equities, the court agreed with the government “that the public

has a compelling interest in the ‘President’s conduct of foreign affairs and

efforts to protect national security.’” A34. It concluded, however, that any

harm to the government from an injunction in plaintiffs’ favor would be




                                      -9-
USCA Case #25-5202     Document #2118491          Filed: 06/02/2025   Page 14 of 93



marginal because the harms articulated in the Cabinet members’ declara-

tions “will flow, if at all, from the … sweeping order” issued by the CIT. Id.

The court set only a nominal $100 bond under Rule 65(c). A37.

                                 ARGUMENT

      Stays pending appeal turn on four factors: the movant’s likelihood of

success on appeal, whether the movant would be irreparably harmed absent

a stay, the balance of equities, and the public interest. Nken v. Holder, 556

U.S. 418, 426 (2009). Here, those factors strongly favor the government.

I.    The Government Is Likely To Prevail On The Merits

      A.    The District Court Lacked Jurisdiction

      1.    The CIT possesses “exclusive jurisdiction” over “any civil action

commenced against” the federal government “that arises out of any law of

the United States providing for … revenue from imports” or for “tariffs, du-

ties, fees or other taxes on the importation of merchandise for reasons other

than the raising of revenue,” as well as any suit arising from “administration

or enforcement” of such tariffs. 28 U.S.C. § 1581(i)(1), (i)(1)(A), (B), (D). Dis-

trict courts accordingly lack jurisdiction over such matters. Id. § 1337(c); see,

e.g., K-Mart Corp. v. Cartier, Inc., 485 U.S. 176, 182-183 (1988).




                                      - 10 -
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 15 of 93



      The district court asserted jurisdiction through a litany of errors. It

conflated jurisdiction with the merits, misreading the jurisdictional require-

ment of a law “providing for … tariffs” to require assessing whether IEEPA

authorizes tariffs—then got that merits question wrong. A15-17. As the CIT

just held, “a challenge to a presidential action that imposes tariffs, duties, or

other import restrictions is one that arises from a ‘law providing for’ those

measures,” regardless of whether the law is ultimately held to authorize the

particular tariffs in question. V.O.S., 2025 WL 1514124, at *8. Indeed, the

CIT asserted jurisdiction even as it erroneously held that IEEPA does not

authorize these tariffs.

      The CIT’s exclusive jurisdiction reflects Congress’s choice to consoli-

date tariff cases in a forum with “expertise in international trade and tariff

matters,” ensuring a “degree of uniformity and consistency.” Conoco, Inc. v.

U.S. Foreign-Trade Zones Bd., 18 F.3d 1581, 1586 (Fed. Cir. 1994). The district

court’s interpretation would perversely deprive a CIT ruling holding tariffs

valid of any nationally uniform effect, because a district court that disagreed

with the CIT could simply declare that the CIT lacked jurisdiction and issue

a contrary ruling. Nor could the government obtain a consolidated, nation-

ally uniform appellate review of any ruling holding tariffs invalid. Rather,

                                     - 11 -
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 16 of 93



the government might have to appeal similar district-court rulings in a host

of other circuits—which might disagree as to the tariffs’ validity.2

      This Court has long deferred to the CIT’s ability to decide for itself

whether it has jurisdiction. In SCM Corp. v. ITC, 549 F.2d 812 (D.C. Cir. 1977),

a manufacturer appealed the district court’s determination that the Customs

Court (the CIT’s predecessor) had exclusive jurisdiction over a challenge to

trade sanctions. This Court recognized that the plaintiff had raised “far from

frivolous doubts concerning its ability to obtain review in the Customs

Court,” but given the “quite possible” arguments in favor of the Customs

Court’s jurisdiction, this Court concluded “that the Customs Court itself

should be given the opportunity to … determine whether or not it ha[d] ju-

risdiction.” Id. at 821. The Court reached a similar conclusion in Miami Free

Zone Corp. v. Foreign Trade Zones Bd., 22 F.3d 1110 (D.C. Cir. 1994): Citing

“the value of uniformity in judicial review of” trade-related matters, this




      2 The district court noted that IEEPA actions are often litigated in dis-

trict courts. A23, A25. But that is because IEEPA authorizes many different
types of actions aside from “tariffs, duties, or other import restrictions,”
V.O.S., 2025 WL 1514124, at *8. The litigation of such cases in district courts
does not undermine the need to concentrate tariff cases in the CIT.

                                     - 12 -
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 17 of 93



Court deferred to the Federal Circuit’s conclusion that the CIT possessed ex-

clusive jurisdiction over a challenge to the creation of a foreign trade zone,

even though this Court found “some support” for a contrary conclusion. Id.

at 1113. Other circuits employ a similar approach. See, e.g., Pentax Corp. v.

Myhra, 72 F.3d 708, 711 (9th Cir. 1995); Commodities Exp. Co. v. U.S. Customs

Serv., 957 F.2d 223, 227 (6th Cir. 1992).

      2.    The CIT possesses jurisdiction over challenges to these tariffs—

and the district court lacked jurisdiction—for an additional, independent

reason: The challenged executive orders imposed tariffs by modifying the

Harmonized Tariff Schedule of the United States (HTSUS). The HTSUS is a

law of the United States that provides for tariffs, see 19 U.S.C. § 1202, and the

President’s modifications of the HTSUS are likewise “considered to be stat-

utory provisions of law for all purposes,” id. § 3004(c)(1)(C). This case thus

“arises out of any law of the United States providing for … tariffs,” 28 U.S.C.

§ 1581(i)(1)(B), regardless of whether IEEPA is itself such a law. The HTSUS

plainly is. At a minimum, the HTSUS provides for “administration and en-

forcement with respect to” tariffs, id. § 1581(i)(1)(D). See Miami Free Zone, 22

F.3d at 1112 (subsection (i)(1)(D)’s “with respect to matters” language “is

more expansive” than preceding paragraphs).

                                      - 13 -
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 18 of 93



      3.    This Court should therefore reverse the preliminary injunction

because the district court lacked jurisdiction. It should remand with instruc-

tions for the district court to transfer the case to the CIT, as two courts have

done in similar challenges to these tariffs. Emily Ley Paper, Inc. v. Trump, 2025

WL 1482771 (N.D. Fla. May 20, 2025); Webber v. DHS, 2025 WL 1207587 (D.

Mont. Apr. 25, 2025), appeal pending, No. 25-2717 (9th Cir.).

      B.    IEEPA Clearly Authorizes Tariffs

      Even if the district court were correct that its jurisdiction depended on

the merits, the court significantly erred in evaluating the merits. IEEPA’s

text, history, and precedent confirm that Congress empowered the President

to impose tariffs to address declared emergencies.

      1.    IEEPA authorizes the President to “regulate … any … importa-

tion … of … any property in which any foreign country or a national thereof

has any interest … or … any property[] subject to the jurisdiction of the

United States.” 50 U.S.C. § 1702(a)(1)(B). The authority to “regulate” im-

ports includes the power to impose tariffs on imports.

      That flows from the ordinary meaning of “regulate”: to “fix, establish

or control; to adjust by rule, method, or established mode; to direct by rule

or restriction; to subject to governing principles or laws.” Regulate, Black’s


                                     - 14 -
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 19 of 93



Law Dictionary 1156 (5th ed. 1979); see, e.g., Regulate, Webster’s Third New

International Dictionary (1976) (“to govern or direct according to rule; to

bring under the control of law or constituted authority”). Imposing tariffs

on imports is clearly a way of “control[ling]” imports (Black’s); “govern[ing]

or direct[ing] them according to rule” (Webster’s); or, more generally, “sub-

ject[ing] them to governing principles or laws” (Black’s).

      The district court reasoned that “[t]o regulate is to establish rules gov-

erning conduct,” while “to tariff is to raise revenue through taxes on imports

or exports.” A19. But that is a false dichotomy. The jurisdictional statute

specifically distinguishes between “law[s] … providing for … revenue from

imports” and those providing for “tariffs … for reasons other than the rais-

ing of revenue.” 28 U.S.C. § 1581(i)(1). And more generally, tariffs and taxes

are routinely used not just to raise revenue but to influence conduct. See,

e.g., NFIB v. Sebelius, 567 U.S. 519, 567 (2012) (“Some of our earliest federal

taxes sought to deter the purchase of imported manufactured goods in order

to foster the growth of domestic industry.”); Federal Energy Admin. v. Algon-

quin SNG, Inc., 426 U.S. 548, 559, 562, 571 (1976) (President’s authority to

“‘adjust … imports’” under a different provision “extends to the imposition




                                     - 15 -
USCA Case #25-5202     Document #2118491        Filed: 06/02/2025   Page 20 of 93



of monetary exactions—i.e., license fees and duties,” as “a license fee as

much as a quota has its initial and direct impact on imports”).

      The district court similarly erred in emphasizing the constitutional dis-

tinction between the power to tax and tariff and the power to regulate inter-

state commerce (A18). The Supreme Court has recognized that although

“the taxing power is a distinct power and embraces the power to lay duties,

it does not follow that duties may not be imposed in the exercise of the power

to regulate commerce.” Board of Trs. of Univ. of Illinois v. United States, 289

U.S. 48, 58 (1933).3

      The court further erred in applying the noscitur a sociis canon to hold

that the meaning of “‘regulate’” is narrowed by neighboring verbs: “‘inves-

tigate, block … , direct and compel, nullify, void, prevent or prohibit.’” A20

(quoting 50 U.S.C. § 1702(a)(1)(B)). The noscitur canon helps to identify

which meaning of an ambiguous word applies in a given context—for ex-

ample, to discern that Shakespeare meant a spear rather than a type of fish


      3 That agencies cannot “use [their] standard regulatory powers to raise

revenue by imposing fees, tariffs, or taxes” (A23) is far afield. To say that
EPA cannot impose taxes under its authority to “promulgate regulations es-
tablishing emissions standards,” 42 U.S.C. § 7412—the district court’s exam-
ple—says little about whether the power to “regulate” imports includes the
power to impose tariffs, a standard tool for governing imports.

                                    - 16 -
USCA Case #25-5202     Document #2118491          Filed: 06/02/2025   Page 21 of 93



when he listed “pike” alongside “sword,” “knife,” and “gun.” Scalia & Gar-

ner, Reading Law: The Interpretation of Legal Texts 195 (2012). But here, the fact

that none of the other verbs in § 1702(a)(1)(B) “deals with the power to raise

revenue” does not mean the word “regulate” should be understood to ex-

clude tariffs. It is hardly surprising for Congress to have given the President,

in the same provision, multiple types of power over imports—both the

power to “block” or “prevent” them and the power to tariff them. And even

if the canon did imply that “regulate” should be understood not to authorize

tariffs for the purpose of raising revenue, that is not the only purpose for

which tariffs are imposed.

      The district court also erred in inferring that IEEPA must not authorize

tariffs because it does not “include language setting limits on any potential

tariff-setting power.” A20. IEEPA includes such language: Section 1702

applies only “[a]t the times and to the extent specified in” § 1701. Section

1701, in turn, specifies that the § 1702 power “may be exercised” only “to

deal with any unusual and extraordinary threat, which has its source in

whole or substantial part outside the United States, to the national security,

foreign policy, or economy of the United States, if the President declares a




                                      - 17 -
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 22 of 93



national emergency with respect to such threat.” And the NEA itself im-

poses “procedural, substantive, and temporal limits” (A20) on emergency

declarations. The district court brushed away those limits because the NEA

power “is broad,” A21 n.6, without acknowledging that the limits are none-

theless real. And a few pages later, the court itself invoked the “textual lim-

its” on § 1702. A24.

      The district court believed that the “comprehensive statutory limita-

tions” on other tariff authorities “would be eviscerated if the President could

invoke a virtually unrestricted tariffing power under IEEPA.” A21. But the

IEEPA authority is not “unrestricted” or “virtually” so; as noted, it requires

specific findings, like a declaration of a particular type of emergency.

      Regardless, the existence of other tariff authorities with different limits

is no basis to arbitrarily cabin IEEPA. Courts “approach federal statutes

touching on the same topic with a ‘strong presumption’ they can coexist har-

moniously. Only by carrying a ‘heavy burden’ can a party” establish “that

one statute ‘displaces’ a second.” Department of Agric. Rural Dev. Rural Hous.

Serv. v. Kirtz, 601 U.S. 42, 63 (2024). And here, IEEPA’s emergency powers

are “merely complementary,” id., to the powers in other statutes, which are




                                     - 18 -
USCA Case #25-5202      Document #2118491         Filed: 06/02/2025   Page 23 of 93



broader in some respects (not limited to declared emergencies) and narrower

in others (addressing only certain types of concerns).

         The district court’s narrowing construction of IEEPA was particularly

improper given that IEEPA operates in the domain of foreign policy and na-

tional security. See, e.g., Al-Bihani v. Obama, 619 F.3d 1, 38-39 (D.C. Cir. 2010)

(Kavanaugh, J., concurring). And Congress has regularly granted the Presi-

dent broad authority with respect to tariffs. See Field v. Clark, 143 U.S. 649,

683-694 (1892) (detailing history of broad delegations of tariff authority); Al-

gonquin, 426 U.S. at 558-60; see also, e.g., 19 U.S.C. § 1338 (Smoot-Hawley tar-

iffs).

         The district court suggested that construing “regulate” to authorize

tariffs would “conflict with” the “textual limits” on § 1702—namely that the

§ 1702 authority “extend[s] only to ‘any property in which any foreign coun-

try or a national thereof has any interest.’” A24. But just because “[t]ariffs

are typically assessed after U.S.-based importers have taken legal possession

of imported goods,” id., does not mean they are not a way of regulating

“property in which any foreign country or a national thereof has any inter-

est,” 50 U.S.C. § 1702(a)(1)(B). This Court has emphasized that the statutory




                                      - 19 -
USCA Case #25-5202       Document #2118491      Filed: 06/02/2025   Page 24 of 93



reference to “‘any interest’” broadly extends beyond possessory legal inter-

ests. Holy Land Foundation v. Ashcroft, 333 F.3d 156, 162-163 (D.C. Cir. 2003).

Thus, this Court held that IEEPA allowed the government to block the assets

of an organization that raised funds for Hamas, even though Hamas had no

“legally protected” interest in the funds. Id. at 163. Foreign nationals who

sell property to domestic importers likewise have an “interest” in the prop-

erty regardless of whether they own it when tariffs are collected.

      Finally, the district court incorrectly suggested that construing “regu-

late” to allow tariffs “could render IEEPA unconstitutional.” A24. It rea-

soned that IEEPA authorizes the President to “‘regulate … exportation’” as

well as “‘importation,’” and “[t]he Constitution prohibits export taxes.” Id.

But the constitutional bar against duties on exports does not mean the word

“regulate” cannot encompass tariffs on imports. It simply means that, for

constitutional reasons, only some of the President’s statutory powers to

“regulate” are available as to exports.

      2.     The judicial construction of substantively identical text in

IEEPA’s predecessor statute and Congress’s subsequent incorporation of

that language in IEEPA reinforce that IEEPA plainly authorizes the Presi-

dent to issue tariffs.

                                     - 20 -
USCA Case #25-5202    Document #2118491           Filed: 06/02/2025   Page 25 of 93



      In Yoshida, the Federal Circuit’s predecessor, reviewing tariffs imposed

by President Nixon, definitively held that the power “to ‘regulate importa-

tion’” under TWEA included the power to “impos[e] an import duty sur-

charge.” 526 F.2d at 576; see id. at 575 (lower court correctly recognized that

“to impose duties can be to ‘regulate’”). The district court here stressed that

President Nixon’s proclamation imposing the tariffs did not refer to TWEA,

but that proclamation specifically stated that its sources of statutory author-

ity were “not limited to” the statutes it named, 85 Stat. 926, which is why

both the Customs Court, Yoshida Int’l, Inc. v. United States, 378 F. Supp. 1155,

1168 (Cust. Ct. 1974), and the appellate court, 526 F.2d 560, assessed the le-

gality of Nixon’s tariffs under TWEA.

      The district court dismissed the appellate opinion in Yoshida as unper-

suasive.4 A27. But not only did Yoshida correctly interpret the text; Congress

subsequently ratified Yoshida’s construction of the “regulate … importation”

language when (soon thereafter) it incorporated that same language in

IEEPA. “Congress is presumed to be aware of an administrative or judicial

interpretation of a statute,” Lorillard v. Pons, 434 U.S. 575, 580 (1978), and


      4 Yoshida is binding on the Federal Circuit.   South Corp. v. United States,
690 F.2d 1368, 1370 (Fed. Cir. 1982) (en banc).

                                     - 21 -
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 26 of 93



“when Congress ‘adopt[s] the language used in [an] earlier act,’” courts

“presume that Congress ‘adopted also the construction given’” to that lan-

guage, Georgia v. Public.Resource.Org, 590 U.S. 255, 270 (2020). Indeed, the

House Report on IEEPA cited Yoshida and explained its holding. H.R. Rep.

No. 95-459, at 5.

      The district court gave no reason for “disagree[ing]” (A28-29) with the

clear import of Congress’s choice to enact the same language interpreted in

Yoshida. The court cited plaintiffs’ argument “that courts only assume Con-

gress adopts an earlier judicial construction of a phrase where there is ‘set-

tled precedent’ on the interpretation of a statute” (A29)—but did not endorse

that argument, presumably because it would be hard to doubt that the Yo-

shida court’s decision was settled precedent.

      Finally, the district court incorrectly characterized Yoshida as having

“expressly rejected the premise that … TWEA enabled the President to ‘im-

pos[e] whatever tariff rates he deems desirable.’” A28. Yoshida simply de-

clined to address the lower court’s “unease” over that prospect, explaining

that “presidential actions must be judged in the light of what the President

actually did, not in the light of what he could have done.” 526 F.2d at 577.

Regardless, the government’s interpretation does not embrace boundless

                                    - 22 -
USCA Case #25-5202    Document #2118491         Filed: 06/02/2025   Page 27 of 93



power, and the district court’s mistaken construction of Yoshida does not

support its holding that IEEPA allows no tariffs at all. That conclusion

plainly conflicts with Yoshida and Congress’s ratification of it.

II.   The Equitable Factors Favor A Stay

      The remaining stay factors overwhelmingly favor the government.

      1.    Notwithstanding the injunction’s limited scope, the denial of a

stay would irreparably harm the United States. The injunction gravely of-

fends the separation of powers by overriding Congress’s choice to delegate

broad tariff authority to the President and disabling the President from ex-

ercising that power at the most sensitive possible time. In declarations sub-

mitted to the district court before its ruling, four Cabinet members attested

that an injunction against the tariffs would threaten the United States’s eco-

nomic and national security. The Commerce Secretary explained that the

injunction “would undermine the United States-United Kingdom trade deal

that was negotiated in reliance on the President’s emergency tariff author-

ity” and “would jeopardize the dozens of similar arrangements with foreign-

trading partners that” are being negotiated. A54. “Each of these negotia-

tions,” Secretary Lutnick explained, “is premised on the credible threat of

enforcement of the IEEPA tariffs,” and the injunction could compromise that


                                     - 23 -
USCA Case #25-5202     Document #2118491          Filed: 06/02/2025   Page 28 of 93



threat, so that “foreign counterparts will have reduced incentives to reach

meaningful agreements[].” Id. That could “leave the American people ex-

posed to predatory economic practices by foreign actors[] and threaten na-

tional security.” A56.

      The Secretaries of State and the Treasury and the U.S. Trade Repre-

sentative similarly explained that the negotiations “currently ongoing …

with dozens of countries” are “in a delicate state” and could be “shatter[ed]”

by an injunction against the tariffs. A46-47 (Treasury); see A42 (State); A59

(Trade). Some negotiations, like those with the United Kingdom, have led

to “framework agreements” subject to further “negotiat[ion] on details,”

while others “have not yet reached a framework agreement.” A47 (Treas-

ury); see A59 (Trade); A42 (State). Those negotiations “are premised on the

ability of the President to impose tariffs under IEEPA.” A42 (State). Worse,

those Cabinet members projected, an injunction could lead trading partners

to take retaliatory actions that the credible threat of further tariffs would oth-

erwise have deterred. A47 (Treasury); A43 (State). The Trade Representa-

tive described that prospect as “a foreign policy disaster scenario,” A60, and

the Secretary of State observed that it “would cause significant and irrepara-

ble harm to U.S. foreign policy and national security,” A41.

                                      - 24 -
USCA Case #25-5202     Document #2118491         Filed: 06/02/2025   Page 29 of 93



      The district court brushed the declarations aside on the theory that the

devastating harms they describe “will flow, if at all, from [the CIT’s] sweep-

ing order,” not this more limited injunction. A34. But, as the declarations

explain, any ruling that calls into question the President’s ability to impose

the challenged tariffs has significant detrimental effects on recent trade

agreements and pending negotiations by undermining both the President’s

leverage and the premise of the negotiations. See A53 (Commerce) (discuss-

ing effect of a ruling “enjoining the implementation of these IEEPA tariffs or

circumscribing the President’s authority to act in this domain” (emphasis

added)); see A42-43 (State) (similar). Regardless, the CIT’s sweeping injunc-

tion is currently stayed. V.O.S. Selections, Inc. v. Trump, 2025 WL 1527040

(Fed. Cir. May 29, 2025).

      Absent a stay, the district court’s ruling thus risks compromising deli-

cate, time-sensitive foreign negotiations. And the government will be fur-

ther irreparably harmed by not receiving revenue that it would have re-

ceived had the tariffs been in effect. See Department of Educ. v. California, 145

S. Ct. 966, 968-969 (2025) (per curiam). For that reason, the district court

erred in fixing only a nominal bond. A37.




                                     - 25 -
USCA Case #25-5202    Document #2118491            Filed: 06/02/2025   Page 30 of 93



      2.    Conversely, a stay would not harm plaintiffs, who can obtain re-

funds if any duties deposited during these appeals are ultimately held un-

lawful. See Sunpreme Inc. v. United States, 2017 WL 65421, at *5 (C.I.T. Jan. 5,

2017) (“virtually no risk … that [plaintiff] would not be made whole should

it prevail”). The balance of harms is not close.

                               CONCLUSION

      This Court should stay the preliminary injunction pending appeal and

grant an immediate administrative stay.

                                        Respectfully submitted,

                                         YAAKOV M. ROTH
                                          Acting Assistant Attorney General
                                         MARK R. FREEMAN
                                         MICHAEL S. RAAB
                                         BRAD HINSHELWOOD

                                         /s/ Daniel Winik
                                         DANIEL WINIK
                                           Attorneys, Appellate Staff
                                           Civil Division, Room 7245
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue NW
                                           Washington, DC 20530
                                           (202) 305-8849




                                     - 26 -
USCA Case #25-5202    Document #2118491        Filed: 06/02/2025   Page 31 of 93



                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 5,177 words. This brief

also complies with the typeface and type-style requirements of Federal Rule

of Appellate Procedure 32(a)(5)-(6) because it was prepared using Word for

Microsoft 365 in 14-point Book Antiqua, a proportionally spaced typeface.



                                          /s/ Daniel Winik
                                          Daniel Winik
USCA Case #25-5202   Document #2118491   Filed: 06/02/2025   Page 32 of 93




                             ADDENDUM
USCA Case #25-5202                 Document #2118491                       Filed: 06/02/2025             Page 33 of 93



                                         TABLE OF CONTENTS

Order Denying Transfer, Granting Preliminary Injunction (Dkt. No.
     35) ................................................................................................................ A1

Memorandum Opinion on Motion to Transfer and Motion for
   Preliminary Injunction (Dkt. No. 37) ..................................................... A3

Order Setting Bond (Dkt. No. 38) ................................................................... A36

Declarations in Opposition to Motion for a Preliminary Injunction
     (Dkt. No. 34)............................................................................................. A38
      Case 1:25-cv-01248-RC Document 35                 Filed 05/29/25 Page 1 of 2
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 34 of 93



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,               :
                                                :
       Plaintiffs,                              :      Civil Action No.:      25-1248 (RC)
                                                :
       v.                                       :      Re Document Nos.:      8, 9
                                                :
DONALD J. TRUMP, et al.,                        :
                                                :
       Defendants.                              :

                                           ORDER

DENYING DEFENDANTS’ MOTION TO TRANSFER VENUE; GRANTING PLAINTIFFS’ MOTION FOR
                          A PRELIMINARY INJUNCTION

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ motion to transfer (ECF No. 8) is DENIED; and

Plaintiffs’ motion for a preliminary injunction (ECF No. 9) is GRANTED. It is hereby:

       DECLARED that the tariffs deriving from Executive Order 14,195, Imposing Duties To

Address the Synthetic Opioid Supply Chain in the People’s Republic of China; Executive Order

14,228, Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the

People’s Republic of China; Executive Order 14,257, Regulating Imports with a Reciprocal

Tariff to Rectify Trade Practices that Contribute to Large and Persistent Annual United States

Trade Deficits; Executive Order 14,259, Amendment to Reciprocal Tariffs and Updated Duties

as Applied to Low-Value Imports from the People’s Republic of China; and Executive Order

14,266, Modifying the Reciprocal Tariff Rates to Reflect Trading Parter Retaliation and

Alignment, are unlawful; and it is




                                              A1
      Case 1:25-cv-01248-RC Document 35                    Filed 05/29/25 Page 2 of 2
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 35 of 93



        FUTHER DECLARED that the International Economic Emergency Economic Powers

Act does not authorize the President to impose the tariffs set forth in the above-listed orders; and

it is

        ORDERED that Defendants are preliminarily enjoined from collecting any tariff

deriving from the above-listed orders from Plaintiffs Learning Resources, Inc., and hand2mind,

Inc., and it is

        FURTHER ORDERED that the preliminary injunction ordered herein shall be

STAYED for fourteen days so that the parties may seek review in the Court of Appeals.

        SO ORDERED.

        This is an immediately appealable order under 28 U.S.C. § 1292(a)(1).


Dated: May 29, 2025                                                RUDOLPH CONTRERAS
                                                                   United States District Judge




                                                 2

                                                A2
      Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 1 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 36 of 93



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                 :
                                                  :
       Plaintiffs,                                :       Civil Action No.:      25-1248 (RC)
                                                  :
       v.                                         :       Re Document Nos.:      8, 9
                                                  :
DONALD J. TRUMP, et al.,                          :
                                                  :
       Defendants.                                :

                                  MEMORANDUM OPINION

DENYING DEFENDANTS’ MOTION TO TRANSFER VENUE; GRANTING PLAINTIFFS’ MOTION FOR
                          A PRELIMINARY INJUNCTION

                                      I. INTRODUCTION

       Learning Resources, Inc. and hand2mind, Inc. (“Plaintiffs”) are small businesses that

develop educational toys and products for children. They manufacture most of their products in

China, Taiwan, Korea, Vietnam, Thailand, and India. After President Donald Trump invoked

the International Emergency Economic Powers Act (“IEEPA”), 50 U.S.C. § 1701 et seq., to

impose sweeping tariffs on imports from those countries and others, the businesses initiated this

lawsuit against President Trump and other government officials and agencies (collectively,

“Defendants”). They claim that (1) IEEPA does not authorize the President to impose tariffs; (2)

even if it does, it does not authorize the challenged tariffs; (3) the agency actions implementing

the tariffs violate the Administrative Procedure Act, 5 U.S.C. § 701 et seq.; and (4) to the extent

that IEPPA can be interpreted to permit the President to impose the challenged tariffs, it violates

the nondelegation doctrine.




                                                A3
      Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 2 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 37 of 93



       Defendants have moved to transfer this action to the United States Court of International

Trade, arguing that that court has exclusive jurisdiction under 28 U.S.C. §§ 1581(i) and 1337(c).

Plaintiffs disagree. They have also moved for a preliminary injunction.

       This case is not about tariffs qua tariffs. It is about whether IEEPA enables the President

to unilaterally impose, revoke, pause, reinstate, and adjust tariffs to reorder the global economy.

The Court agrees with Plaintiffs that it does not. For the reasons discussed below, the Court

denies Defendants’ motion to transfer and grants Plaintiffs’ motion for a preliminary injunction.

                                      II. BACKGROUND

       Six months after the United States entered World War I, Congress passed the Trading

with the Enemy Act of 1917 (“TWEA”), which gave the President a broad range of powers over

international trade in times of war and, as amended in 1933, national emergencies. Pub. L. No.

65-91, 40 Stat. 411 (1917), codified as amended at 50 U.S.C. § 1 et seq.; Regan v. Wald, 468

U.S. 222, 226 n.2 (1984). The statute had “clear procedures for enhancing the authority of a

President when an emergency arose,” but no analogous procedures for withdrawing or winding

down that power. Regan, 468 U.S. at 245 (Blackmun, J., dissenting). So, over time, TWEA

came to operate as a “one-way ratchet to enhance greatly the President’s discretionary authority

over foreign policy.” Id.

       In 1977, Congress responded by limiting TWEA’s application “solely to times of war.”

Id. at 227 (majority opinion); see also 50 U.S.C. § 4302. It also passed the International

Emergency Economic Powers Act, Pub. L. No. 95-223, 91 Stat. 1626 et seq. (1977), to “counter

the perceived abuse of emergency controls by presidents to . . . interfere with international trade

in non-emergency, peacetime situations.” Sacks v. Off. of Foreign Assets Control, 466 F.3d 764,

766 (9th Cir. 2006). IEEPA regulates the President’s “exercise of emergency economic powers




                                                 2
                                                A4
      Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 3 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 38 of 93



in response to peacetime crises.” Regan, 468 U.S. at 227–28 (majority opinion). It established

“a new set of authorities for use in time of national emergency which are both more limited in

scope than those of [TWEA] and subject to various procedural limitations.” H.R. Rep. No. 95-

459, “Trading With the Enemy Act Reform Legislation,” at 2 (1977).

       Section 1701 of IEEPA provides that President can use the statute “to deal with any

unusual and extraordinary threat, which has its source in whole or substantial part outside the

United States, to the national security, foreign policy, or economy of the United States,” if he

declares a national emergency “with respect to such threat” pursuant to the National

Emergencies Act, 50 U.S.C. §§ 1601–51. 50 U.S.C. § 1701(a). The President’s IEEPA powers

“may not be exercised for any other purpose.” Id. § 1701(b).

       When Section 1701’s conditions are met, Section 1702(a)(1) establishes that the

President may, “by means of instructions, licenses, or otherwise”:

       (A) investigate, regulate, or prohibit—

           i. any transactions in foreign exchange,

           ii. transfers of credit or payments between, by, through, or to any banking
               institution, to the extent that such transfers or payments involve any interest
               of any foreign country or a national thereof,

           iii. the importing or exporting of currency or securities,

           by any person, or with respect to any property, subject to the jurisdiction of the
           United States;

       (B) investigate, block during the pendency of an investigation, regulate, direct and
           compel, nullify, void, prevent or prohibit, any acquisition, holding,
           withholding, use, transfer, withdrawal, transportation, importation or
           exportation of, or dealing in, or exercising any right, power, or privilege with
           respect to, or transactions involving, any property in which any foreign country
           or a national thereof has any interest by any person, or with respect to any
           property, subject to the jurisdiction of the United States; and[]




                                                 3
                                                 A5
      Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 4 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 39 of 93



       (C) when the United States is engaged in armed hostilities or has been attacked by
           a foreign country or foreign nationals, [take additional actions].

Id. § 1702(a)(1).

       Beginning in February 2025, President Trump issued a series of executive orders

invoking IEEPA to unilaterally impose tariffs on many foreign goods. The executive orders used

three other statutory provisions to implement the tariffs: the National Emergencies Act;

Section 604 of the Trade Act of 1974, which authorizes the President to edit the Harmonized

Tariff Schedule of the United States (“HTSUS”); and 3 U.S.C. § 301, which enables the

President to delegate functions to subordinates. Five of President Trump’s executive orders are

challenged in this lawsuit (collectively, the “Challenged Orders”).

       The February 1 China Order. On February 1, the President issued an executive order

imposing 10 percent ad valorem tariffs on Chinese goods. Exec. Order No. 14,195, Imposing

Duties to Address the Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed.

Reg. 9121 (Feb. 1, 2025) (“February 1 China Order”). The order was predicated on the influx of

synthetic opioids into the United States through China, which exports fentanyl and “related

precursor chemicals” to the U.S. Id. The order “expand[s] the scope of the national emergency”

at the U.S.-Mexico border 1 to “cover the failure of the [Chinese] government to arrest, seize,

detain, or otherwise intercept chemical precursor suppliers, money launderers, other

[transnational criminal organizations], criminals at large, and drugs.” Id. § 1, 90 Fed. Reg. at

9122. In issuing the order, President Trump invoked “section 1702(a)(1)(B) of IEEPA.” Id. § 2,

90 Fed. Reg. at 9122.


       1
         See Proclamation No. 10,886, Declaring a National Emergency at the Southern Border
of the United States, 90 Fed. Reg. 8327 (Jan. 20, 2025); Exec. Order No. 14,157, Designating
Cartels and Other Organizations as Foreign Terrorist Organizations and Specially Designated
Global Terrorists, 90 Fed. Reg. 8439 (Jan. 20, 2025).


                                                 4
                                                A6
      Case 1:25-cv-01248-RC Document 37                  Filed 05/29/25 Page 5 of 33
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 40 of 93



       The March 3 China Amendment. Around one month later, President Trump raised the

China tariffs to 20 percent based on his determination that China had “not taken adequate steps

to alleviate the illicit drug crisis through cooperative enforcement actions.” Exec. Order

No. 14,228, Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the

People’s Republic of China, 90 Fed. Reg. 11463 (Mar. 3, 2025) (“March 3 China Amendment”).

Then he ordered the elimination of duty-free de minimis treatment for goods subject to the tariffs,

contradicting a statutory program permitting duty exemptions for imported goods valued at less

than $800. Exec. Order No. 14,256, Further Amendment to Duties Addressing the Synthetic

Opioid Supply Chain in the People’s Republic of China as Applied to Low-Value Imports, 90

Fed. Reg. 14899 (Apr. 2, 2025). The Department of Homeland Security (“DHS”) and Customs

and Border Patrol (“CBP”) implemented the President’s China orders by modifying the HTSUS.

See Implementation of Additional Duties on Products of the People’s Republic of China

Pursuant to the President’s February 1, 2025 Executive Order Imposing Duties To Address the

Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed. Reg. 9038-01 (Feb. 5,

2025) (implementing 10 percent tariff from February 1 China order); Further Amended Notice of

Implementation of Additional Duties on Products of the People’s Republic of China Pursuant to

the President’s Executive Order 14195, Imposing Duties to Address the Synthetic Opioid Supply

Chain in the People’s Republic of China, 90 Fed. Reg. 11426-01 (Mar. 6, 2025) (implementing

20 percent tariff from March 3 China Amendment).

       Universal and Reciprocal Tariff Order. On April 2, President Trump announced

sweeping tariffs on virtually every U.S. trading partner. 2 Exec. Order No. 14,257, Regulating



       2
          Exempt from the tariffs were Canada, Mexico, Russia, North Korea, Cuba, and Belarus.
See Mot. Prelim. Inj. at 10, ECF No. 9. Separate executive orders had imposed a 25 percent
tariff on goods from Mexico and Canada. See Exec. Order No. 14,194, Imposing Duties to


                                                 5
                                               A7
      Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 6 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 41 of 93



Imports with a Reciprocal Tariff to Rectify Trade Practices that Contribute to Large and

Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15,041 (Apr. 2, 2025) (the

“Universal and Reciprocal Tariff Order”). These “Liberation Day” tariffs encompassed a 10

percent universal tariff plus additional country-specific tariffs ranging from 11 to 50 percent. Id.

at 15045, 15049–50. The Universal and Reciprocal Tariff Order also announced a new national

emergency “arising from conditions reflected in large and persistent annual U.S. goods trade

deficits” that “have contributed to the atrophy of domestic production capacity, especially that of

the U.S. manufacturing and defense-industrial base.” Id. at 15044; see also Defs.’ PI Opp’n at 6

(“On April 2, 2025, the President declared a national emergency based on the trade deficit’s

effect on the country’s economy and security.”). To the President, these trade asymmetries

constitute an “unusual and extraordinary threat to the national security and economy of the

United States,” especially because of “the recent rise in armed conflicts abroad.” 90 Fed. Reg. at

15041, 15044–45; see also Fact Sheet: President Donald J. Trump Declares National

Emergency to Increase Our Competitive Edge, Protect Our Sovereignty, and Strengthen Our

National and Economic Security, The White House (Apr. 2, 2025), available at

https://www.whitehouse.gov/fact-sheets/2025/04/fact-sheet-president-donald-j-trump-declares-

national-emergency-to-increase-our-competitive-edge-protect-our-sovereignty-and-strengthen-

our-national-and-economic-security/ [https://perma.cc/UK3L-JDEV]. The 10 percent tariff went

into effect on April 5; the reciprocal tariffs were originally set to take effect on April 9. Mot.

Prelim. Inj. at 11, ECF No. 9.




Address the Situation at Our Southern Border, 90 Fed. Reg. 9117 (Feb. 1, 2025); Exec. Order
No. 14,193, Imposing Duties to Address the Flow of Illicit Drugs Across our Northern Border,
90 Fed. Reg. 9113 (Feb. 1, 2025). The President later paused, reinstated, and amended the scope
of those orders in ways not relevant here.


                                                  6
                                                 A8
      Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 7 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 42 of 93



       April 8 Reciprocal China Amendment & April 9 Reciprocal Modification. But on

April 8, President Trump responded to retaliatory tariffs from China by raising the reciprocal

tariff rate for China from 34 percent to 84 percent. Exec. Order No. 14,259, Amendment to

Reciprocal Tariffs and Updated Duties as Applied to Low-Value Imports From the People’s

Republic of China, 90 Fed. Reg. 15,509 (Apr. 14, 2025) (“April 8 Reciprocal China

Amendment”). Then, on April 9, President Trump suspended for 90 days the reciprocal tariffs

listed in the Universal and Reciprocal Tariff Order for all countries but China. Exec. Order

No. 14,266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation and

Alignment, §§ 2, 3, 90 Fed. Reg. 15625 (Apr. 15, 2025) (“April 9 Reciprocal Modification”).

The April 9 Reciprocal Modification also increased the China reciprocal tariff rate to 125

percent. Id. At the highest level, the total tariffs on most Chinese goods reached a minimum of

145 percent. Ana Swanson & Alan Rappeport, Tariff Truce With China Demonstrates the Limits

of Trump’s Aggression, N.Y. Times (May 12, 2025), available at

https://www.nytimes.com/2025/05/12/business/economy/trump-trade-china-tariffs.html

[https://perma.cc/BKS4-NTGJ]. After trade talks in Geneva, the U.S. lowered the minimum

tariffs on Chinese goods to 30 percent. Id. The ten percent universal tariffs from the Universal

and Reciprocal Order are still in effect. 90 Fed. Reg. at 15626.

       President Trump has stated that the tariffs originating in the Challenged Orders will raise

“billions of dollars, even trillions of dollars” in revenue. Mot. Prelim. Inj. at 13 (quoting Bailey

Schulz, Trump is Rolling Out More Tariffs This Month. Where Does the Tariff Money Go?, USA

Today (Apr. 4, 2025), https://www.usatoday.com/story/money/2025/04/03/trump-tariffs-where-

will-money-go/82792578007/ [https://perma.cc/T5DN-73XL]). Treasury Secretary Scott

Bessent estimated that the tariffs will enable the United States to collect up to $600 billion




                                                  7
                                                A9
      Case 1:25-cv-01248-RC Document 37                  Filed 05/29/25 Page 8 of 33
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 43 of 93



annually, paid mainly by U.S. businesses and consumers. Id. (citing Richard Rubin, Bessent

Says Tariff Revenue Could Reach $600 Billion Annually, Wall St. J. (Apr. 4, 2025), available at

https://www.wsj.com/livecoverage/stock-market-tariffs-trade-war-04-04-2025/card/bessent-says-

tariff-revenue-could-reach-600-billion-annually-QJfDGCPYDY1C72Ljg1pt

[https://perma.cc/R2RV-PNAW]).

       No other President has ever purported to impose tariffs under IEEPA. Joint Br. of Amici

Curiae Former Senator and Governor George F. Allen, et al. (“Law Professors’ Amicus Br.”)

at 7 (citing Christopher A. Casey et al., Cong. Rsch. Serv., The International Economic

Emergency Powers Act: Origins, Evolution and Use, R45618 at 27 (2024)), ECF No. 23; Mot.

Prelim. Inj. at 1 (“For five decades and across eight presidential Administrations, no President

had ever invoked IEEPA to impose a tariff or duty.”). After President Trump issued the

Challenged Orders, small businesses and other entities brought lawsuits in federal courts alleging

that the tariffs are unlawful. See, e.g., Emily Ley Paper, Inc. v. Trump, No. 3:25-cv-465 (N.D.

Fla.) (transferred to the United States Court of International Trade); Webber v. U.S. Dep’t of

Homeland Security, No. 4:25-cv-26 (D. Mont.) (appeal pending); California v. Trump, No. 3:25-

cv-3372 (N.D. Cal.); V.O.S. Selections, Inc. v. Trump, No. 25-00066 (Ct. Int’l Trade); Princess

Awesome, LLC v. U.S. Customs & Border Prot., No. 25-00078 (Ct. Int’l Trade); Oregon v.

Trump, No. 25-00077 (Ct. Int’l Trade); Barnes v. United States, No. 25-0043 (Ct. Int’l Trade)

(dismissed for lack of standing).

       Among that group are Plaintiffs. Learning Resources and hand2mind are family-owned

companies based in Illinois that sell award-winning toys that help young children develop verbal,

counting, and fine motor skills, and that introduce older children to science, technology,




                                                 8
                                               A10
      Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 9 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 44 of 93



engineering, and math. 3 Compl. ¶¶ 4, 10, ECF No. 1. They have more than 500 employees and

sell their products in over 100 countries. Id. Plaintiffs pay tariffs to the federal government

pursuant to the Challenged Orders because they import most of their products from China and

other countries subject to IEEPA tariffs. Id. ¶ 24. According to the companies’ CEO, Richard

Woldenberg, the new China tariff rates “are so high as to effectively prevent importation.” Decl.

of Richard Woldenberg in Supp. of Pls.’ Mot. for Prelim. Inj. (“Woldenberg Decl.”) ¶ 6, ECF

No. 9-1. The “scale of the IEEPA tariff burden is unsustainable” for their businesses, which may

be forced to raise prices by 70 percent or more “as a matter of pure survival.” Id. ¶¶ 6, 9.

Because Plaintiffs have “no realistic way” to cover the costs associated with the increased tariffs,

“the tariffs act as an immediate ban on the products [they] import.” Id. ¶ 15. They estimate that

the tariffs will increase their annual costs over forty-fold. Mot. Prelim. Inj. at 3.

       Plaintiffs brought this lawsuit on April 22 against President Trump; Kristi Noem,

Secretary of DHS; the Department of Homeland Security; Scott Bessent, Secretary of the

Department of the Treasury; the Department of the Treasury; Howard Lutnick, Secretary of

Commerce; the Department of Commerce; Pete R. Flores, Acting Commissioner of CBP;

Customs and Border Patrol; Jamieson Greer, U.S. Trade Representative; and the Office of the

U.S. Trade Representative (collectively, “Defendants”). See Compl. Two days later, Defendants

filed a motion to transfer this action to the United States Court of International Trade (“CIT”).

Defs.’ Mot. Transfer, ECF No. 8; Mem. of Law in Supp. of Defs.’ Mot. Transfer (“Mot.

Transfer”), ECF No. 8, and Plaintiffs filed a motion for a preliminary injunction. Mot. Prelim.

Inj.



       3
       Although distinct legal entities, Plaintiffs are under common control and share over 100
employees, a single line of credit, and a single supply chain department. Woldenberg Decl. ¶ 2.


                                                   9
                                                 A11
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 10 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 45 of 93



       The Court of International Trade is an Article III court that takes its current form from the

Customs Court Act of 1980, Pub. L. 96-417, 94 Stat. 1727 (1980), and has “unique and

specialized expertise in trade law.” Marmen Inc. v. United States, 134 F.4th 1334, 1338 (Fed.

Cir. 2025) (internal quotation omitted). Congress has given the CIT exclusive jurisdiction over

“any civil action commenced against the United States, its agencies, or its officers, that arises out

of any law of the United States providing for,” as relevant here, “tariffs, duties, fees, or other

taxes on the importation of merchandise for reasons other than the raising of revenue.” 28

U.S.C. § 1581(i)(1). District courts do not have subject-matter jurisdiction over “any matter

within the exclusive jurisdiction of the Court of International Trade.” 28 U.S.C. § 1337(c).

       Plaintiffs oppose the government’s motion to transfer on the grounds that IEEPA is not a

law providing for tariffs. See Pls.’ Response to Mot. Transfer (“Pls.’ Transfer Opp’n”), ECF

No. 18. The government filed an opposition to Plaintiffs’ preliminary injunction motion, Mem.

of Law in Opp’n to Pls.’ Mot. for Prelim. Inj. (“Defs.’ PI Opp’n”), ECF No. 16, and Plaintiffs

filed a reply, Pls.’ Reply in Supp. of Mot. for Prelim. Inj. (“Pls.’ PI Reply”), ECF No. 17. The

government also filed a reply in support of its motion to transfer. Reply in Supp. of Defs.’ Mot.

Transfer (“Defs.’ Transfer Reply”), ECF No. 21.

       Three groups submitted amicus briefs. America First Legal Foundation (“America

First”) filed a brief in support of Defendants’ motion to transfer. Br. of Amicus Curiae America

First Legal Foundation in Supp. of Defs.’ Mot. Transfer (“America First Amicus Br.”), ECF No.

22. A group of law professors, former politicians, and legal experts filed a brief in support of

Plaintiffs’ motion for a preliminary injunction. Law Professors’ Amicus Br. And finally, a

group of small businesses affected by the Challenged Orders filed a brief in opposition to

Defendants’ motion to transfer. Joint Br. of Amici Curiae Emily Ley Paper, Inc., D/B/A




                                                  10
                                                A12
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 11 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 46 of 93



Simplified; Kilo Brava LLC; Kim’s Clothes and Fashion LLC; and Rokland LLC in Opp’n to

Defs.’ Mot. Transfer (“Small Business Amicus Br.”), ECF No. 24.

       Defendants also submitted three notices of supplemental authority: a hearing transcript

from a similar case before the Court of International Trade, where a three-judge panel of the CIT

heard argument on a motion for a preliminary injunction and a motion for summary judgment; a

Florida district court’s order granting the government’s motion to transfer in a similar case; and a

CIT decision dismissing a similar case, brought by a pro se plaintiff, for lack of standing. See

Notice of Suppl. Authority, ECF Nos. 25, 25-1 (CIT hearing transcript); Notice of Suppl.

Authority, ECF Nos. 26, 26-1 (decision in the Northern District of Florida transferring Emily Ley

Paper to the CIT); Notice of Suppl. Authority, ECF Nos. 31, 31-1; (decision of the CIT

dismissing for lack of standing in Barnes). Plaintiffs filed responses to the two court opinions.

See Response to Notice of Suppl. Authority, ECF No. 27; Response to Notice of Suppl.

Authority, ECF No. 32. Defendants also submitted as “additional exhibits” in support of their

preliminary injunction opposition four declarations of U.S. government officials originally filed

in a case pending before the CIT. Notice of Add’l Exs., ECF No. 34; see also Decls., ECF No.

34-1 (declarations of Secretary of State Marco Rubio (“Decl. of Marco Rubio”), Secretary of

Treasury Scott Bessent (“Decl. of Scott Bessent”); Secretary of Commerce Howard Lutnick

(“Decl. of Howard Lutnick”); and United States Trade Representative Jamieson Lee Greer).

       The Court held a hearing on the motions to transfer and for a preliminary injunction on

May 27. Both motions are now ripe for review.




                                                11
                                               A13
     Case 1:25-cv-01248-RC Document 37                       Filed 05/29/25 Page 12 of 33
USCA Case #25-5202    Document #2118491                          Filed: 06/02/2025 Page 47 of 93



                                   III. LEGAL STANDARDS

                        A. Motion to Transfer for Lack of Jurisdiction

        Federal courts, as courts of limited jurisdiction, have an obligation to ensure that the

actions they consider are “limited to those subjects encompassed within a statutory grant of

jurisdiction.” Ins. Corp. of Ireland, Ltd. v. Compagnie Des Bauxites de Guinee, 456 U.S. 694,

701 (1982). A plaintiff bears the burden of establishing a court’s subject-matter jurisdiction.

Sweigert v. Perez, 334 F. Supp. 3d. 36, 40 (D.D.C. 2018). If a court where an action is filed

finds “there is a want of jurisdiction, the court shall, if it is in the interest of justice, transfer such

action . . . to any other such court . . . in which the action or appeal could have been brought at

the time it was filed.” 28 U.S.C. § 1631; see also Jan’s Helicopter Serv. Inc. v. Fed. Aviation

Admin., 525 F.3d 1299, 1304 (Fed. Cir. 2008).

                                      B. Preliminary Injunction

        “A preliminary injunction is ‘an extraordinary remedy that may only be awarded upon a

clear showing that the [movant] is entitled to such relief.’” John Doe Co. v. Consumer Fin. Prot.

Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017) (quoting Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008)). “A plaintiff seeking a preliminary injunction must establish [1] that

he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence

of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is

in the public interest.” Winter, 555 U.S. at 20. “The last two factors ‘merge when the

Government is the opposing party.’” Guedes v. Bureau of Alcohol, Tobacco, Firearms &

Explosives, 920 F.3d 1, 10 (D.C. Cir. 2019) (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)).

“Of course, the movant carries the burden of persua[ding]” the Court that these factors merit

preliminary relief, Fla. EB5 Invs., LLC v. Wolf, 443 F. Supp. 3d 7, 11 (D.D.C. 2020) (citing




                                                    12
                                                   A14
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 13 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 48 of 93



Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004)), and must do so by making a “clear

showing,” Cobell, 391 F.3d at 258. A district court must generally consider each of these factors

in deciding whether to issue a preliminary injunction. See Sherley v. Sebelius, 644 F.3d 388,

392–93 (D.C. Cir. 2011).

                                          IV. ANALYSIS

            A. Subject-Matter Jurisdiction & Likelihood of Success on the Merits

        At the outset, Plaintiffs must establish that the Court has subject-matter jurisdiction over

their claims. See Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992). The CIT has exclusive

jurisdiction over “any civil action commenced against the United States, its agencies, or its

officers, that arises out of any law of the United States providing for,” in relevant part, “tariffs,

duties, fees, or other taxes on the importation of merchandise for reasons other than the raising of

revenue.” 28 U.S.C. § 1581(i)(1)(B).

        This is undisputably a civil action against agencies and officers of the United States that

“arises out of” IEEPA. See Kosak v. United States, 465 U.S. 848, 854 (1984) (interpreting

“arising out of” to “include[] a claim resulting from”); Int’l Lab. Rights Fund v. Bush, 357 F.

Supp. 2d 204, 208 (D.D.C. 2004) (analyzing the CIT’s jurisdiction based on “the substantive law

giving rise to [the plaintiffs’] claims”). So subject-matter jurisdiction turns on whether IEEPA is

a “law . . . providing for” “tariffs, duties, fees or other taxes on the importation of merchandise

for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(1). If the answer is yes, then

the Court of International Trade has exclusive jurisdiction under 28 U.S.C. § 1581(i)(1). If the

answer is no, then this Court has jurisdiction under 28 U.S.C. §§ 1331 and 1346. See also K

Mart Corp. v. Cartier, Inc., 485 U.S. 176, 182–83 (1988). The jurisdictional question is




                                                  13
                                                 A15
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 14 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 49 of 93



tantamount to the principal merits question: whether IEEPA authorizes (or “provid[es] for”)

tariffs. See Pls.’ Transfer Opp’n at 1.

       Defendants argue that this Court must transfer the case to the CIT because “all of

[P]laintiffs’ arguments concern the imposition of tariffs.” E.g., Mot. Transfer at 1; see also

Defs.’ PI Opp’n at 10–20. They essentially take the position that all “tariff cases,” “tariff

challenges,” and “tariff matters” must go to the CIT for that court to determine in the first

instance whether it has jurisdiction. See Mot. Transfer at 9–10 (emphases added). That is not

how the CIT’s jurisdictional statute operates. The statute is categorical: the jurisdictional hook is

the nature of the statute that a case arises out of, not the character of a plaintiff’s claims. See K

Mart Corp., 485 U.S. at 188 (“Congress did not commit to the Court of International Trade’s

exclusive jurisdiction every suit against the Government challenging customs-related laws and

regulations.”) (emphasis in original); 28 U.S.C. § 1581(i)(1)(B); Miami Free Zone Corp. v.

Foreign Trade Zones Bd., 22 F.3d 1110, 1112 (D.C. Cir. 1994) (holding that “section 1581(i)

grants the CIT exclusive jurisdiction over actions arising from laws providing for—not ‘designed

to deal with’ or ‘relating to’—revenue from imports”) (emphasis in original). So the CIT has

jurisdiction over this case if, and only if, IEEPA is a “law of the United States providing for . . .

tariffs.” 4 See 28 U.S.C. § 1581(i)(1)(B); Pls.’ Transfer Opp’n at 2.


       4
          Defendants argue in passing that the CIT has exclusive jurisdiction over this action
under 28 U.S.C. § 1581(i)(1)(D), which applies to cases arising out of any law of the United
States providing for the “administration and enforcement” of tariffs. See Mot. Transfer at 9, 11;
Defs.’ Transfer Reply at 5. They base this argument on the fact that the Challenged Orders
modified the HTSUS, which is essentially a list of the applicable tariff rates for all goods
imported into the United States. See Defs.’ Transfer Reply at 5; 19 U.S.C. § 2483. This case
“arises out of” the substantive law under which the President acted—IEEPA—not the HTSUS.
See Int’l Lab. Rights Fund, 357 F. Supp. 2d at 208. So 28 U.S.C. § 1581(i)(1)(D) does not
independently apply. Cf. K Mart Corp., 485 U.S. at 190–91 (holding that the CIT’s residual
jurisdictional provision does not apply if the underlying substantive law is not one “providing for
. . . administration and enforcement” of something that itself falls under the CIT’s jurisdiction).


                                                  14
                                                 A16
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 15 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 50 of 93



       Defendants claim that this Court cannot consider whether IEEPA provides for tariffs

because that necessarily involves deciding the underlying merits (or, at this stage of the

litigation, whether Plaintiffs have shown a likelihood of success on the merits). But “courts

always have jurisdiction to determine their jurisdiction,” Ilan-Gat Eng’rs, Ltd. v. Antigua Int’l

Bank, 659 F.2d 234, 239 (D.C. Cir. 1981), including in instances where the CIT may ultimately

have exclusive jurisdiction. K Mart Corp., 485 U.S. at 191 (resolving circuit split by rejecting

Federal Circuit’s position that the CIT had exclusive jurisdiction over certain actions under 28

U.S.C. § 1581(i)). And when the merits and jurisdiction are intertwined, like here, a court “can

decide all of the merits issues in resolving a jurisdictional question, or vice versa.” Brownback v.

King, 592 U.S. 209, 217 (2021) (cleaned up). The Court will therefore consider both whether it

has jurisdiction and whether Plaintiffs are likely to succeed on the merits by deciding whether

IEEPA is a law providing for tariffs.

       Since the Founding, the Constitution has vested the “Power to lay and collect Taxes,

Duties, Imposts and Excises” with Congress. U.S. Const. art. I, § 8, cl. 1. The President has no

independent discretion to impose or alter tariffs. See Youngstown Sheet & Tube Co. v. Sawyer,

343 U.S. 579, 585 (1952). Any Presidential tariffing authority must be delegated by Congress.

See United States v. Yoshida Int’l, Inc., 526 F.2d 560, 572 (C.C.P.A. 1975) (“[N]o undelegated

power to regulate commerce, or to set tariffs, inheres in the Presidency.”); Law Professors’

Amicus Br. at 3 (stating that Congress’s power to control taxation is a “structural safeguard of

democratic accountability”). See generally 19 U.S.C.

       Because courts “must enforce plain and unambiguous statutory language according to its

terms,” the Court looks to IEEPA’s text to determine whether it is a law providing for tariffs.

See Hardt v. Reliance Standard Life Ins. Co., 560 U.S. 242, 251 (2010); 28 U.S.C.




                                                15
                                               A17
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 16 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 51 of 93



§ 1581(i)(1)(B). IEEPA does not use the words “tariffs” or “duties,” their synonyms, or any

other similar terms like “customs,” “taxes,” or “imposts.” It provides, as relevant here, that the

President may, in times of declared national emergency, “investigate, block during the pendency

of an investigation, regulate, direct and compel, nullify, void, prevent or prohibit” the

“importation or exportation” of “property in which any foreign country or a national thereof has

any interest.” 50 U.S.C. § 1702(a)(1)(B). There is no residual clause granting the President

powers beyond those expressly listed. The only activity in Section 1702(a)(1)(B) that could

plausibly encompass the power to levy tariffs is that to “regulate . . . importation.” See Defs.’ PI

Opp’n at 11 (relying on those words to argue that IEEPA authorizes the imposition of tariffs).

        The Court agrees with Plaintiffs that the power to regulate is not the power to tax. See

Mot. Prelim. Inj. at 18. The Constitution recognizes and perpetuates this distinction. Clause 1 of

Article I, Section 8 provides Congress with the “Power To lay and collect Taxes, Duties, Imposts

and Excises.” Clause 3 of Article I, Section 8 empowers Congress “To regulate Commerce with

foreign Nations.” If imposing tariffs and duties were part of the power “[t]o regulate

[c]ommerce with foreign [n]ations,” then Clause 1 would have no independent effect. As Chief

Justice Marshall put it in an early leading case, “the power to regulate commerce is . . . entirely

distinct from the right to levy taxes and imposts.” Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 201

(1824) (Marshall, C.J.). The Constitution treats the power to regulate and the power to impose

tariffs separately because they are not substitutes. See id. at 198–99 (describing the power to tax

and the power to regulate as “not . . . similar in their terms or their nature”).

        “Tariff” and “regulate” also take different plain meanings. To regulate something is to

“[c]ontrol by rule” or “subject to restrictions.” Regulate, The Concise Oxford Dictionary of

Current English 943 (6th ed. 1976); see also Regulate, New Webster’s Dictionary of the English




                                                  16
                                                 A18
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 17 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 52 of 93



Language 1264 (1975) (“to govern by or subject to certain rules or restrictions”); see also Defs.’

PI Opp’n at 11 (citing similar definitions). Tariffs are, by contrast, schedules of “duties or

customs imposed by a government on imports or exports.” Tariff, Random House Dictionary of

the English Language 1454 (1973). To regulate is to establish rules governing conduct; to tariff

is to raise revenue through taxes on imports or exports. Pls.’ PI Reply at 3. Those are not the

same. 5 Cf. Tom Campbell, Presidential Authority to Impose Tariffs, 83 La. L. Rev. 595 (2023)

(arguing that “tariffs are economically different from quantitative import restraints”). If

Congress had intended to delegate to the President the power of taxing ordinary commerce from

any country at any rate for virtually any reason, it would have had to say so. See Biden v.

Nebraska, 600 U.S. 477, 505–06 (2023) (requiring a clear statement from Congress when the

interpretation of a provision would have a “question of ‘deep economic and political

significance’ that is central to [the] statutory scheme”) (alteration in original) (quoting King v.

Burwell, 576 U.S. 473, 486 (2015)).

       The other verbs in Section 1702(a)(1)(B) confirm that the President’s power to

“regulate . . . [the] importation or exportation” of property does not encompass the power to

tariff. Per the principle of noscitur a sociis, “a word is given more precise content by the

neighboring words with which it is associated.” E.g., United States v. Williams, 553 U.S. 285,

294 (2008). Even if regulate may take a broad meaning in other contexts, see Defs.’ PI Opp’n at

12, the words immediately surrounding it “cabin the contextual meaning of that term” here, see


       5
           Defendants point out that in McGoldrick v. Gulf Oil Corporation, 309 U.S. 414, 428
(1940), the Supreme Court described “[t]he laying of a duty on imports” as both “an exercise of
the taxing power” and “an exercise of the power to regulate foreign commerce.” Defs.’ PI Opp’n
at 15. Both of those powers belong to Congress, not the President. See U.S. Const. art. I, § 8,
cls. 1, 3. McGoldrick does not stand for the proposition that the President’s delegated power to
“regulate . . . importation” includes the ability to unilaterally impose tariffs at any rate on any
goods from any country.


                                                  17
                                                A19
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 18 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 53 of 93



Yates v. United States, 574 U.S. 528, 543 (2015). The President’s IEEPA power to “regulate” is

part of a list of verbs otherwise including “investigate, block during the pendency of an

investigation, . . . direct and compel, nullify, void, prevent or prohibit.” 50 U.S.C.

§ 1702(a)(1)(B). Not one of those words deals with the power to raise revenue. In the context of

the words with which it is listed, “regulate” is appropriately read to refer to the President’s power

to issue economic sanctions, not to tariff. See Law Professors’ Amicus Br. at 8, 13; Mot. Prelim.

Inj. at 27.

        Nor does IEEPA include language setting limits on any potential tariff-setting power.

Every time Congress delegated the President the authority to levy duties or tariffs in Title 19 of

the U.S. Code, it established express procedural, substantive, and temporal limits on that

authority. E.g., 19 U.S.C. § 2132. For one example, Section 122 of the Trade Act of 1974

authorizes the President to impose an “import surcharge . . . in the form of duties . . . on articles

imported into the United States” to “deal with large and serious United States balance-of-

payments deficits,” but those tariffs are capped at 15 percent and can last only 150 days without

Congressional approval. Id. § 2132(a). For another example, Section 338 of the Tariff Act of

1930 grants the President the authority to “declare new or additional duties” of up to 50 percent

on imports from countries that have imposed “unreasonable” charges, exactions, regulations, or

limitations that are “not equally enforced upon the like articles of every foreign country,” or that

have “[d]iscriminate[d] in fact against the commerce of the United States.” 19 U.S.C. § 1338(a),

(d), (e). Those tariffs cannot take effect for thirty days. Id. § 1338(d), (e). For yet another

example, Section 301 of the Trade Act of 1974 authorizes an executive officer who serves under

the President to “impose duties or other import restrictions on the goods of” a foreign country

that has been found, after notice and investigation, to have committed unfair trade practices or




                                                  18
                                                A20
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 19 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 54 of 93



violated trade agreements with the United States. 19 U.S.C. § 2411(c). Unlike IEEPA, each of

these statutes provides specific limitations on when the President may set or alter tariffs. See

also, e.g., 19 U.S.C. § 1862 (authorizing the President to impose tariffs only against specific

products, and only after the Secretary of Commerce has conducted a predicate investigation into

national security risks); cf. Fed. Energy Admin. v. Algonquin SNG, Inc., 426 U.S. 548, 559–60,

571 (1976) (interpreting the statutory phrase “adjust . . . imports” to give the President the power

to impose license fees, but only after the Secretary of the Treasury independently determines that

an “article is being imported into the United States in such quantities or under such

circumstances as to threaten to impair the national security,” and other “clear preconditions to

Presidential action”).

       Those comprehensive statutory limitations would be eviscerated if the President could

invoke a virtually unrestricted tariffing power under IEEPA. 6 See Law Professors’ Amicus Br.

at 9 (“If IEEPA meant what the government says it means, it would enable the President to

impose, revoke, or change tariffs for essentially any reason he describes as an emergency,

without complying with any of the limitations that Congress attached to every statute delegating

tariff authority.”), cf. Morton v. Mancari, 417 U.S. 535, 550–51 (1974) (discussing the principle

that in statutory interpretation, the specific prevails over the general); Guidry v. Sheet Metal

Workers Nat’l Pension Fund, 493 U.S. 365, 375 (1990) (same). The Court will not assume that,


       6
          Of course the necessary predicate for the exercise of any authority under IEEPA is the
President’s declaration of a national emergency. 50 U.S.C. § 1701. But the President’s power to
declare a national emergency under the National Emergencies Act is broad, and Defendants take
the position that courts cannot review presidential declarations of emergencies because they
constitute nonjusticiable political questions. Defs.’ PI Opp’n at 1, 31–36; see also Ctr. for
Biological Diversity v. Trump, 453 F. Supp. 3d 11, 31 (D.D.C. 2020) (noting that “no court has
ever reviewed the merits of such a declaration”) (emphasis in original); Yoshida, 526 F.2d at 581
n.32 (“[C]ourts will not review the bona fides of a declaration of an emergency by the
President.”).


                                                 19
                                                A21
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 20 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 55 of 93



in enacting IEEPA, Congress repealed by implication every extant limitation on the President’s

tariffing authority. See Posadas v. Nat’l City Bank, 296 U.S. 497, 503 (1936) (“The cardinal rule

is that repeals by implication are not favored.”). “Congress has enacted a comprehensive

scheme” detailing the conditions where the President may impose tariffs. See RadLAX Gateway

Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645 (2012) (quoting Varity Corp. v. Howe, 516

U.S. 489, 519 (1996) (Thomas, J., dissenting)). “It would be anomalous,” to say the least, “for

Congress to have so painstakingly described the [President’s] limited authority” on tariffs in

other statutes, “but to have given him, just by implication,” nearly unlimited tariffing authority in

IEEPA. See Gonzales v. Oregon, 546 U.S. 243, 262 (2006).

       Historical practice further indicates that IEEPA does not encompass the power to levy

tariffs. In the five decades since IEEPA was enacted, no President until now has ever invoked

the statute—or its predecessor, TWEA—to impose tariffs. See Mot. Prelim. Inj. at 21, 27;

Christopher A. Casey et al., Cong. Rsch. Serv., R45618, The International Emergency Economic

Powers Act: Origins, Evolution and Use, R45618 at 25–26, 58–62 (2024). IEEPA has been

consistently understood by the Executive to authorize targeted economic sanctions on the

person 7 or state responsible for the underlying threat to U.S. national security. See Loper Bright

Enters. v. Raimondo, 603 U.S. 369, 386 (2024) (“[T]he longstanding practice of the government

. . . can inform a court’s determination of what the law is.”) (cleaned up) (quoting NLRB v. Noel

Canning, 573 U.S. 513, 525 (2014)); Mot. Prelim. Inj. at 21–27. “This lack of historical

precedent, coupled with the breadth of authority that the [President] now claims, is a telling



       7
         The Court means “person” in the broad legal sense. See 1 U.S.C. § 1 (defining “person”
to include “corporations, companies, associations, firms, partnerships, societies, and joint stock
companies, as well as individuals”); see also 50 U.S.C. §§ 1708(d)(6), 1709(g)(8) (defining
“person” as “an individual or entity”).


                                                 20
                                               A22
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 21 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 56 of 93



indication that the [tariffs] extend[] beyond the [President’s] legitimate reach.” See Nat’l Fed’n

of Indep. Bus. v. Dep’t of Lab., Occupational Safety & Health Admin, 595 U.S. 109, 119 (2022)

(per curiam) (internal quotation marks omitted). Nor have IEEPA cases traditionally been filed

in the CIT. Hundreds of district court cases cite IEEPA Sections 1701 and 1702, but excluding

the cases recently filed challenging President Trump’s IEEPA tariffs, not one CIT case cites

either provision. See Pls.’ Transfer Opp’n at 10. This makes sense because the mine run IEEPA

case has nothing to do with the CIT’s “unique and specialized expertise in trade law.” See, e.g.,

Holy Land Found. for Relief & Dev. v. Ashcroft, 333 F.3d 156 (D.C. Cir. 2003) (IEEPA case

seeking to vacate Office of Foreign Asset Controls designations); OKKO Bus. PE v. Lew, 133 F.

Supp. 3d 17 (D.D.C. 2015) (IEEPA case seeking to unblock a wire transfer); TikTok Inc. v.

Trump, 507 F. Supp. 3d 92 (D.D.C. 2020) (IEEPA case seeking to enjoin ban on social media

application).

       General administrative practice also illustrates—and demands—a distinction between the

power to regulate and the power to tax. When a statute authorizes an agency to promulgate

regulations on a topic, the agency can implement rules or restrictions relating to that topic. See,

e.g., 42 U.S.C. § 7412 (authorizing the Environmental Protection Agency to “promulgate

regulations establishing emissions standards”). The agency cannot, however, use its standard

regulatory powers to raise revenue by imposing fees, tariffs, or taxes. See Pls.’ PI Reply at 4–5;

cf. Diginet, Inc. v. Western Union ATS, Inc., 958 F.2d 1388, 1399 (7th Cir. 1992) (“The legal

power to regulate is not necessarily the legal power to tax.”). Congress speaks clearly when it

delegates to an agency the authority to impose fees on regulated entities. See 49 U.S.C. §

40117(j) (listing the powers to tax and to regulate separately); 16 U.S.C. § 460bbb-9(a) (same); 2

U.S.C. § 622(8)(B)(i) (same). The statutory term “regulate,” on its own, is not so capacious.




                                                 21
                                               A23
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 22 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 57 of 93



That is true whether the power to regulate is delegated to an administrative agency or to the

President.

       Defendants’ counterarguments cannot and do no overcome IEEPA’s plain meaning. For

one thing, their proposed interpretation of Section 1702(a)(1)(B) conflicts with the provision’s

textual limits. The President’s IEEPA powers extend only to “any property in which any foreign

country or a national thereof has any interest.” 50 U.S.C. § 1702(a)(1)(B); see Real v. Simon,

510 F.2d 557, 562 (5th Cir. 1975). Tariffs are typically assessed after U.S.-based importers have

taken legal possession of imported goods. See 19 U.S.C. § 1484(a)(2)(B) (generally authorizing

the “owner or purchaser” of goods to be the importer of record); U.S. Customs & Border

Protection, Entry Summary and Post Release Processes (last modified Apr. 10, 2025),

https://www.cbp.gov/trade/programs-administration/entry-summary [https://perma.cc/4U4F-

7U6H] (“Within 10 days of the release of the cargo, the importer must pay the estimated duties

on their imported goods.”). Property wholly owned by U.S. nationals falls outside of IEEPA’s

scope. See 50 U.S.C. § 1702(a)(1)(B); see also Law Professors’ Amicus Br. at 8–9 (describing

how all the “permitted presidential actions” in IEEPA “have their effects abroad,” while tariffs

are “taxes paid by Americans”).

       And as Plaintiffs pointed out at oral argument, Defendants’ interpretation could render

IEEPA unconstitutional. IEEPA provides that the President may “regulate . . . importation or

exportation.” 50 U.S.C. § 1702(a)(1)(B). The Constitution prohibits export taxes. See U.S.

Const. art. I, § 9, cl. 5 (“No Tax or Duty shall be laid on Articles exported from any State.”). If

the term “regulate” were construed to encompass the power to impose tariffs, it would

necessarily empower the President to tariff exports, too. The Court cannot interpret a statute as




                                                 22
                                               A24
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 23 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 58 of 93



unconstitutional when any other reasonable construction is available. See Nat’l Fed’n of Indep.

Bus. v. Sebelius, 567 U.S. 519, 563 (2012).

        Defendants’ interpretation would also create a jurisdictional split between IEEPA actions

initiated by the government, which are not “commenced against the United States, its agencies,

or its officers,” and would fall under the jurisdiction of the district courts; and IEEPA actions

initiated against the government, which would go to the CIT. See 28 U.S.C. § 1581(i)(1); 50

U.S.C. § 1705(a)–(c) (establishing civil and criminal penalties for violations of IEEPA); see, e.g.,

United States v. Three Sums Totaling $612,168.23 in Seized U.S. Currency, 55 F.4th 932, 935–

36 (D.C. Cir. 2022) (IEEPA claim filed by the government in federal district court). That would

totally warp the principles of consistency and expertise that Defendants invoke to support their

claim that the CIT has exclusive jurisdiction over this action. See Mot. Transfer at 9–10.

        Defendants lean heavily on United States v. Yoshida International, Inc. (“Yoshida”), 526

F.2d 560, a 1975 decision from the Court of Customs and Patent Appeals, the Federal Circuit’s

predecessor, but that case is not binding on this Court. See Defs.’ PI Opp’n at 2, 4, 12, 14, 16–

19, 23, 26–28, 32, 35; see also Coal. to Preserve the Integrity of Am. Trademarks v. United

States, 790 F.2d 903, 905–07 (D.C. Cir. 1986), aff’d in part sub nom. K Mart. Corp., 485 U.S. at

190–91 (rejecting Federal Circuit’s jurisdictional analysis). Nor does the Court find it

persuasive. 8




        8
         Two other district courts have, in cases materially similar to this one, granted the
government’s motion to transfer to the CIT largely in reliance upon Yoshida. See Webber v. U.S.
Dep’t of Homeland Sec., 2025 WL 1207587 (D. Mont. Apr. 25, 2025); Emily Ley Paper v.
Trump, 2025 WL 1482771 (N.D. Fla. May 20, 2025). This Court respectfully disagrees with
their analyses. And the Court finds it even less persuasive that the CIT, which is bound by
Yoshida, is exercising jurisdiction over lawsuits raising similar claims.


                                                 23
                                                A25
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 24 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 59 of 93



       The facts of Yoshida are as follows. During the summer of 1971, the United States faced

“an economic crisis” arising out of a balance of payments deficit. Yoshida, 526 F.2d at 567.

President Nixon responded by issuing a proclamation that, among other things, imposed a 10

percent surcharge on imported goods. Id.; see also Proclamation No. 4074, 36 Fed. Reg. 15724

(Aug. 17, 1971). The tariffs were known as the “Nixon shock,” see Defs.’ PI Opp’n at 17, and

were withdrawn in less than five months, Law Professors’ Amicus Br. at 11. A zipper importer,

Yoshida International, challenged the tariffs’ legality in a refund suit. Yoshida, 526 F.2d at 566.

At the time Section 5(b) of the TWEA allowed the President to, in emergencies, “regulate . . .

[the] importation . . . of . . . any property in which any foreign country or a national thereof has

any interest.” 9 Id. at 570. Although President Nixon had not invoked TWEA, 10 the Customs

Court 11 analyzed whether that statute authorized the tariffs and concluded that it did not.

Yoshida Int’l, Inc. v. United States (“Yoshida I”), 378 F. Supp. 1155, 1171 (Cust. Ct. 1974),

rev’d, Yoshida, 526 F.2d at 576 (C.C.P.A. 1975) (“It cannot be said that the investiture of a

power to ‘regulate’ necessarily includes, per se, the power to levy duties.”); see also id. at 1172

(“If the words ‘regulate . . . importation’ were given the construction contended by the

defendant, the President by the declaration of a national emergency could determine and fix rates

of duty at will, without regard to statutory rates prescribed by the Congress and without the



       9
           The same language appears in IEEPA.
       10
           In issuing Proclamation 4074, President Nixon instead invoked the Tariff Act of 1930
and the Trade Expansion Act of 1962. 36 Fed. Reg. at 15724; Yoshida, 526 F.2d at 569; H.R.
Rep. No. 95-459, at 5 (1977) (“[TWEA] was not among the statutes cited in the President’s
proclamation as authority for the surcharge.”); see also Pls.’ PI Reply at 9–10. TWEA was first
cited “later by the Government in response to a suit brought in Customs Court by Yoshida
International”—i.e., in Yoshida. H.R. Rep. No. 95-459, at 5.
       11
         The Customs Court is the CIT’s predecessor. See Customs Courts Act of 1980, Pub. L.
No. 96-417, § 702, 94 Stat. 1727, 1748 (1980).


                                                  24
                                                A26
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 25 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 60 of 93



benefit of standards or guidelines which must accompany any valid delegation of a constitutional

power by the Congress.” (alteration in original)).

        The Court of Customs and Patent Appeals reversed based on “the intent of Congress” and

“the broad purposes of the [TWEA].” Yoshida, 526 F.2d at 583; see also id. at 573 (emphasizing

that “the primary implication of an emergency power is that it should be effective to deal with a

national emergency successfully”). That is no longer how courts approach statutory

interpretation. See Am. Fed. of Gov. Empls., Nat’l Council of HUD Locals Council 222, AFL-

CIO v. FLRA, 99 F.4th 585, 590 (D.C. Cir. 2024) (discussing how purposivism was, by the end

of the twentieth century, “largely rejected in favor of a stricter focus on a statute’s text” (citing

John F. Manning, Textualism and the Equity of the Statute, 101 Colum. L. Rev. 1, 6–7 (2001)));

Loper Bright, 603 U.S. at 443 n.6 (Gorsuch, J., concurring) (describing how in 1984 “there were

many judges who abhorred plain meaning and preferred instead to elevate legislative history and

their own curated accounts of a law’s purposes over enacted statutory text,” but now courts have

“a more faithful adherence to the written law” (cleaned up)). The Supreme Court could not be

more clear that courts must focus on a statute’s text. E.g., Jimenez v. Quarterman, 555 U.S. 113,

118 (2009) (“As with any question of statutory interpretation, our analysis begins with the plain

language of the statute.”); see also Lamie v. U.S. Trustee, 540 U.S. 526, 534 (2004) (“It is well

established that ‘when the statute’s language is plain, the sole function of the courts—at least

where the disposition required by the text is not absurd—is to enforce it according to its terms.’”

(quoting Hartford Underwriters Ins. Co. v. Union Planters Bank, N.A., 530 U.S. 1, 6 (2000)). So

Yoshida’s reasoning is not compelling on its own terms.

        And in deciding that case, the Court of Customs and Patent Appeals acknowledged that

“nothing in the TWEA or in its history . . . specifically either authorizes or prohibits the




                                                  25
                                                 A27
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 26 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 61 of 93



imposition of a surcharge,” and that “Congress did not specify that the President could use a

surcharge in a national emergency.” Yoshida, 526 F.2d at 572–73, 576. Yoshida also expressly

rejected the premise that the TWEA enabled the President to “impos[e] whatever tariff rates he

deems desirable,” id. at 578, which is the power President Trump has claimed in issuing the

Challenged Orders. Yoshida is further distinguishable because the tariffs at issue there applied

only to goods already subject to tariff reductions, and at rates that did not exceed the original

statutory maximum set out by Congress. See Law Professors’ Amicus Br. at 12 n.2.

       As Plaintiffs point out, other events confirm that Congress did not intend for the language

“regulate . . . importation” to delegate the authority to impose tariffs. See Pls.’ PI Reply at 11–

12. Just before enacting IEEPA, Congress passed Section 122 of the Trade Act of 1974. Pub. L.

No. 93-618, 88 Stat. 1978 (1975). That statute specifically authorized the tariffs President Nixon

had imposed in Proclamation 4074 by providing that the President may impose an “import

surcharge . . . in the form of duties . . . on articles imported into the United States” to “deal with

large and serious United States balance-of-payments deficits.” 19 U.S.C. § 2132(a); see also id.

§ 2411(c)(1)(B). Section 122 would have been pointless if Congress understood TWEA (and

later, IEEPA) to allow that same tariffing authority. And in reaching its holding, the Yoshida

court expressly relied on the fact that there was then no specific statute “‘providing procedures’

for dealing with a national emergency involving a balance of payments problem such as that

which existed in 1971.” Yoshida, 526 F.2d at 578; see also id. at 582 n.33 (expressly declining

to determine what effect “the specific grant of the surcharge authority spelled out in the Trade

Act of 1974” had on the President’s TWEA powers in 1971). That is no longer true.

       Finally, the President’s IEEPA powers were designed to be “more limited in scope than

those of [TWEA].” H.R. Rep. No. 95-459, at 2 (1977). The Court disagrees with Defendants




                                                  26
                                                 A28
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 27 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 62 of 93



that, by adopting the TWEA’s language in IEEPA, Congress endorsed Yoshida’s holding. See

Pls.’ PI Reply at 13 (arguing that courts only assume Congress adopts an earlier judicial

construction of a phrase where there is “settled precedent” on the interpretation of a statute, and

that conflicting lower court decisions do not constitute settled precedent (quoting United States v.

Collazo, 984 F.3d 1308, 1328 (9th Cir. 2021))). Contra Defs.’ PI Opp’n at 4, 12, 14. Yoshida is

not a reason for this Court to reject IEEPA’s plain meaning.

                                                 ***

        Two conclusions follow from the Court’s analysis. First, because IEEPA is not a “law

. . . providing for tariffs,” this Court, not the CIT, has jurisdiction over this lawsuit. 12 The

statutory phrase “regulate . . . importation,” as used in IEEPA, does not encompass the power to

tariff. The plain meaning of “regulate” is not “to tax.” And historical practice, as well as

Congress’s actions in response to the “Nixon shock” tariffs, confirm that the statute is not so

capacious. Second, because IEEPA does not authorize the President to impose tariffs, the tariffs

that derive from the Challenged Orders are ultra vires. Plaintiffs have therefore shown that they

are likely to succeed on the merits of their claim that the President, in issuing the Challenged

Orders, acted ultra vires, and that the agency defendants, in implementing them, violated the


        12
          Although Defendants do not raise this argument, Amicus America First takes the
position that the CIT has exclusive jurisdiction over all IEEPA actions because it is a law
“providing for . . . embargoes . . . for reasons other than protections of the public health or
safety.” See America First Amicus Br.; 28 U.S.C. § 1581(i)(1)(C). That would be a sea change
in IEEPA practice, as district courts have exercised jurisdiction over hundreds of IEEPA cases
brought against the government. See Pls.’ Transfer Opp’n at 10. Such a jurisdictional shift
would also run counter to the CIT’s role as a “specialized court of limited jurisdiction.” See
Horizon Lines, LLC. v. United States, 414 F. Supp. 2d 46, 52 (D.D.C. 2006). Further, Presidents
have used IEEPA to respond to threats to public health and safety. For example, the February 1
China Order challenged in this case expressly imposed IEEPA sanctions to address the illegal
flow of fentanyl into the U.S. 90 Fed. Reg. at 9121. If IEEPA provides for embargoes, those
embargoes could be to protect the public health or safety. That brings IEEPA outside the scope
of Section 1581(i)(1)(C), so America First’s jurisdictional argument fails.


                                                  27
                                                 A29
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 28 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 63 of 93



Administrative Procedure Act. The Court does not reach Plaintiffs’ alternative arguments that

IEEPA does not authorize these specific tariffs or that, if it does authorize these tariffs, it violates

the nondelegation doctrine.

                                       B. Irreparable Harm

        Plaintiffs have established that they will likely suffer irreparable harm absent a

preliminary injunction because the tariffs originating in the Challenged Orders pose an

existential threat to their businesses. See, e.g., Woldenberg Decl. ¶ 28; Mot. Prelim. Inj. at 41;

see also League of Women Voters of U.S. v. Newby, 838 F.3d 1, 8–9 (D.C. Cir. 2016) (reiterating

that “a preliminary injunction requires only a likelihood of irreparable injury”). They cannot

offset the highest IEEPA tariffs without raising prices 70 percent or more “as a matter of pure

survival,” Woldenberg Decl. ¶ 9; their customers have already canceled over $1 million in

orders, id. ¶ 10; and they face an immediate 40 or 50 percent decline in sales, year-over-year, id.

¶ 11. The companies “cannot possibly absorb the costs of the increased tariffs” without

“changing [their] pricing radically.” Id. ¶¶ 6, 14. But they cannot pass price increases onto their

customers without selling substantially fewer products. Id. ¶¶ 16, 18. Plaintiffs are not “massive

entities that can withstand such losses in their core business[es].” See Everglades Harvesting &

Hauling, Inc. v. Scalia, 427 F. Supp. 3d 101, 116 (D.D.C. 2019). Nor can they reduce the quality

of their products to support lower prices: reducing quality is “unthinkable” for “premium brands”

like Plaintiffs, and is practically unworkable because it would require them to “change the design

and/or production of more than 2,000 products at once.” Id. ¶ 15.

        Without an injunction, Plaintiffs may have to refinance loans on unfavorable terms;

significantly scale back operations and product offerings; close facilities; lay off employees; or

possibly sell their businesses. Mot. Prelim. Inj. at 41. Granted, financial losses typically do not




                                                  28
                                                 A30
     Case 1:25-cv-01248-RC Document 37                     Filed 05/29/25 Page 29 of 33
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 64 of 93



constitute irreparable harm. E.g., Wisc. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985).

But that is not the case when “the loss threatens the very existence of the movant’s business.” Id.

        The government argues that Plaintiffs’ harms are speculative and conclusory. See Defs.’

PI Opp’n at 37–39. The Court disagrees. See Pls.’ PI Reply at 20–21 (detailing, to the extent

possible, the specific costs that Plaintiffs have incurred because of the Challenged Orders). How

could Plaintiffs possibly describe the exact costs they will face from paying tariffs that the

President imposes, pauses, adjusts, and reimposes at will? See Woldenberg Decl. ¶¶ 7–8

(describing the “ever-changing situation with the IEEPA tariffs” and “considerable uncertainty

about future economic conditions and trade rules”). The instability and unpredictability of the

changing tariff rates cause “massive disruptions in [their] supply chain, business relations, and

business operations.” Id. ¶ 8; see Tex. Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224, 242

(D.D.C. 2014). Without preliminary relief, Plaintiffs will be subjected to ongoing “supply chain

chaos, an incredibly burdensome and constantly shifting tariff landscape, and a very high price to

be paid for incorrect logistical judgments.” Woldenberg Decl. ¶ 10. And because their financial

recovery is limited to the value of any tariffs they wrongly pay, see 19 U.S.C. § 1505(a)–(b),

Plaintiffs will not be able to recover lost profits, lost customers, or the “additional cost[s]” of

finding “replacement[s]” for high-tariff imports. See Vaqueria Tres Monjitas, Inc. v. Irizarry,

587 F.3d 464, 485 (1st Cir. 2009) (“[T]he inability to supply a full line of products may

irreparably harm a merchant by shifting purchasers to other suppliers.”); Nalco Co. v. EPA, 786

F. Supp. 2d 177, 188 (D.D.C. 2011) (holding that agency action that would make it “difficult for

[the plaintiff] to attract new customers” is “at least some degree of irreparable injury”).

        As Plaintiffs stated at oral argument, to the extent the tariffs cause them not to import

goods in the first instance, they cannot recover the value of the resulting lost sales, business




                                                  29
                                                 A31
     Case 1:25-cv-01248-RC Document 37                    Filed 05/29/25 Page 30 of 33
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 65 of 93



opportunities, market share, or customer goodwill. See Mot. Prelim. Inj. at 38–39. In this

context, those harms qualify as irreparable. See, e.g., Patriot, Inc. v. U.S. Dep’t of Housing &

Urban Dev., 963 F. Supp. 1, 5 (D.D.C. 1997) (“damage to [a company’s] business reputation”

can be “irreparable harm”); Nalco Co., 786 F. Supp. 2d at 188 (finding irreparable harm where

petitioner would “suffer the loss of ‘[l]ong-standing clients . . . [that may be] unwilling, or

unable, to do business’” with them absent an injunction (alterations in original) (quoting

Feinerman v. Bernardi, 558 F. Supp. 2d 36, 50–51 (D.D.C. 2008)). Contra Defs.’ PI Opp’n at

38 (stating, without support, that Plaintiffs’ “loss of business opportunities and goodwill” could

be “indirectly” redressed through refunds). The Court is therefore satisfied that Plaintiffs have

demonstrated irreparable harm.

                            C. Balance of Equities & Public Interest

       Finally, the Court considers whether the balance of equities and the public interest favor a

preliminary injunction. When the government is the party to be enjoined, these two factors

merge. See Nken, 556 U.S. at 435. The Supreme Court has instructed that “[a]n injunction is a

matter of equitable discretion; it does not follow from success on the merits as a matter of

course.” Winter, 555 U.S. at 32. “In exercising their sound discretion, courts of equity should

pay particular regard for the public consequences in employing the extraordinary remedy of an

injunction.” Weinberger v. Romero-Barcelo, 456 U.S. 305, 312 (1982) (citing R.R. Comm’n v.

Pullman Co., 312 U.S. 496, 500 (1941)).

       Without a preliminary injunction, Plaintiffs will sustain significant and unrecoverable

losses. They take the position that if the Court grants their motion, the government will face a

pause of the IEEPA tariffs only as directed to two small businesses whose imports are relatively

inconsequential to the national economy. See Mot. Prelim. Inj. at 43 (requesting that the Court




                                                  30
                                                A32
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 31 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 66 of 93



“enjoin the agency Defendants and their agents, employees, and all persons acting under their

direction and control, from taking any action to collect tariffs from Plaintiffs under the

Challenged Orders”) (emphasis added). And “[t]he public interest is served when the legislation

that Congress has enacted,” like IEEPA, “is complied with.” American Rivers v. U.S. Army

Corps of Eng’rs, 271 F. Supp. 2d 230, 262 (D.D.C. 2003); see also League of Women Voters,

838 F.3d at 12 (holding that is there generally no public interest in unlawful agency action).

       On the government’s side, four Cabinet officials submitted declarations outlining the

“catastrophic harm to American foreign policy and national security that would ensue from

granting the relief requested in [P]laintiffs’ motion.” Notice of Add’l Exs. at 1; see also Decl. of

Howard Luntick ¶ 19 (“All told, an invalidation of President Trump’s ability to use IEEPA

would dismantle a cornerstone of President Trump’s national security architecture, irreparably

harm the government’s ability to respond to evolving foreign threats, . . . jeopardize vital trade

agreements, collapse ongoing negotiations, allow for Chinese aggression during a period of

strategic competition, leave the American people exposed to predatory economic practices by

foreign actors, and threaten national security.”). Secretary of State Marco Rubio stated that an

order enjoining the tariffs “would cause significant and irreparable harm to U.S. foreign policy

and national security” because negotiations with trading partners are “in a delicate state.” Decl.

of Marco Rubio ¶¶ 3, 9. “These negotiations could address the urgent threats of mass migration

at our northern and southern borders, the flow of fentanyl into our country, and the erosion of our

domestic production capacity,” id. ¶ 8, and constitute “one of the country’s top foreign policy

priorities.” Id. ¶ 10. According to Secretary Rubio, “much of U.S. global diplomacy has been

focused on these negotiations.” Id. ¶ 10; see also Decl. of Scott Bessent ¶ 9. Every ongoing




                                                 31
                                                A33
     Case 1:25-cv-01248-RC Document 37                   Filed 05/29/25 Page 32 of 33
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 67 of 93



negotiation is “premised on the ability of the President to impose tariffs under IEEPA.” Decl. of

Marco Rubio ¶ 11.

       The Cabinet officials claim that were a court to enjoin the tariffs announced in the

Challenged Orders, U.S. trading partners could retaliate against the tariffs.; the U.S. would be

embarrassed on the global stage; and the U.S.’s manufacturing position may be so weakened that

the country may “not be able to produce the weapons and other resources necessary to defend

itself.” Id. ¶¶ 12–14. These consequences go to “critical” foreign policy and national security

interests. Id. ¶ 16; see also Decl. of Howard Lutnick ¶¶ 4–4 (describing that the national

emergencies underlying the Challenged Orders “threaten[] the lives of [U.S.] citizens”). The

Court agrees with Defendants that the public has a compelling interest in the “President’s

conduct of foreign affairs and efforts to protect national security.” See Defs.’ PI Opp’n at 41; see

also Winter, 555 U.S. at 24.

       But on May 28, a three-judge panel of the CIT issued an order permanently enjoining the

IEEPA tariffs. See Opinion, V.O.S. Selections, Inc. v. Trump, No. 25-00066, at 48–49 (Ct. Int’l

Trade May 28, 2025). The consequences described by the government officials in their

declarations will flow, if at all, from that court’s sweeping order. Under the circumstances,

enjoining the application of the Challenged Orders to two family-owned toy companies will have

virtually no effect on the government. Contra Defs.’ PI Opp’n at 41–42 (arguing that

“[P]laintiffs’ proposed injunction would be an enormous intrusion on the President’s conduct of

foreign affairs and efforts to protect national security under IEEPA and the Constitution”). It

will, however, protect those companies from irreparable injury should the CIT order be stayed or

reversed. The Court concludes that the balance of equities and the public interest therefore favor

Plaintiffs. Besides, “[i]t is emphatically the province and duty of the judicial department to say




                                                32
                                               A34
     Case 1:25-cv-01248-RC Document 37                  Filed 05/29/25 Page 33 of 33
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 68 of 93



what the law is.” Marbury v. Madison, 5 U.S. 137, 177 (1803) (Marshall, C.J.). The President

cannot act unlawfully and then use the effects of having that action declared unlawful as a

putative shield from judicial review.

                                        V. CONCLUSION

       Because IEEPA is not a law providing for tariffs and because Plaintiffs have satisfied the

preliminary injunction factors, Defendants’ motion to transfer venue is DENIED; and Plaintiffs’

motion for a preliminary injunction is GRANTED. The Court will stay operation of the

preliminary injunction for 14 days. An order consistent with this Memorandum Opinion is

separately and contemporaneously issued.


Dated: May 29, 2025                                               RUDOLPH CONTRERAS
                                                                  United States District Judge




                                                33
                                              A35
      Case 1:25-cv-01248-RC Document 38                    Filed 05/29/25 Page 1 of 2
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 69 of 93



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                 :
                                                  :
       Plaintiffs,                                :       Civil Action No.:       25-1248 (RC)
                                                  :
       v.                                         :       Re Document No.:        9
                                                  :
DONALD J. TRUMP, et al.,                          :
                                                  :
       Defendants.                                :

                                              ORDER

       Under Federal Rule of Civil Procedure 65(c), courts may issue a preliminary injunction

“only if the movant gives security in an amount that the court considers proper to pay the costs

and damages sustained by any party found to have been wrongfully enjoined or restrained.” The

rule “has been read to vest broad discretion in the district court to determine the appropriate

amount of an injunction bond.” DSE, Inc., v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999).

       Defendants request that the Court order Plaintiffs to post a bond in the amount of the

tariffs they would pay but for the preliminary injunction. Mem. of Law in Opp’n to Pls.’ Mot.

for Prelim. Inj. at 43, ECF No. 16. Specifically, they want the Plaintiffs to “identify the entries,

by entry number, importer name, and importer number, that would be covered” by a preliminary

injunction, and to “post Single Transaction Bonds for all such identified entries during the

pendency of any injunctive order in an amount equal to the total entered value, plus all

applicable duties, taxes, and fees, including the duties that would otherwise have been deposited

pursuant to the executive orders.” Id.

       The Court agrees with Plaintiffs that such a remedy would effectively defeat the purpose

of the preliminary relief. See Pls.’ Reply in Supp. of Mot. for Prelim. Inj. at 23–24, ECF No. 17;

see also Nat. Res. Def. Council, Inc., v. Morton, 337 F. Supp. 167, 168 (D.D.C. 1971) (holding



                                                A36
      Case 1:25-cv-01248-RC Document 38                     Filed 05/29/25 Page 2 of 2
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 70 of 93



that a bond “is not necessary where requiring [one] would have the effect of denying the

plaintiffs their right to judicial review”). Rule 65(c) has been interpreted to allow district courts

to require no bond at all or only a nominal bond. See, e.g., Nat’l Council of Nonprofits v. OMB,

No. 25-cv-239, 2025 WL 597959, at *19 (D.D.C. Feb. 25, 2025) (no bond); P.J.E.S. ex rel.

Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520 (D.D.C. 2020) (same); Nat’l Res. Def.

Council, 337 F. Supp. at 169 (nominal bond). Because “[i]t would be a mistake to treat a

revenue loss to the Government the same as pecuniary damage to a private party,” the Court

believes a nominal bond of $100.00 is appropriate. See Nat’l Res. Def. Council, 337 F. Supp. at

169.

       Plaintiffs are HEREBY ORDERED to post bond under Rule 65(c) in the amount of

$100.00.

       SO ORDERED.


Dated: May 29, 2025                                                 RUDOLPH CONTRERAS
                                                                    United States District Judge




                                                  2

                                                A37
      Case 1:25-cv-01248-RC Document 34                 Filed 05/27/25 Page 1 of 2
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 71 of 93



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                   )
                                                    )
                      Plaintiffs,                   )
                                                    )
       v.                                           )      Civil Action No. 1:25-cv-01248-RC
                                                    )
DONALD J. TRUMP, President of the United            )
States, in his official capacity, et al.,           )
                                                    )
                      Defendants.                   )

                            NOTICE OF ADDITIONAL EXHIBITS

       Defendants respectfully submit the attached declarations in support of their response in

opposition to plaintiffs’ motion for a preliminary injunction. The declarations were filed Friday

evening, May 23, 2025, in Princess Awesome, LLC v. U.S. Customs & Border Protec., No. 25-

cv-00078 (Ct. Int’l Trade), in support of defendants’ opposition to the plaintiffs’ request for

permanent injunctive relief in that case. They are pertinent here because they also establish the

unavailability of preliminary injunctive relief, which, like a request for permanent injunctive

relief, requires showings on both the balance of the equities and public interest.

       The declarations were made by four members of the President’s cabinet: Marco Rubio,

Secretary of State; Scott K. H. Bessent, Secretary of the Treasury; Howard W. Lutnick, Secretary

of Commerce; and Jamieson Lee Greer, United States Trade Representative. They provide up-

to-date information on sensitive negotiations with trading partners and describe the catastrophic

harm to American foreign policy and national security that would ensue from granting the relief

requested in plaintiffs’ motion.




                                               1
                                              A38
      Case 1:25-cv-01248-RC Document 34    Filed 05/27/25 Page 2 of 2
USCA Case #25-5202    Document #2118491       Filed: 06/02/2025 Page 72 of 93



DATED: May 27, 2025                    Respectfully submitted,

OF COUNSEL:                            YAAKOV M. ROTH
                                       Acting Assistant Attorney General
ALEXANDER K. HAAS
Director                               ERIC J. HAMILTON
                                       Deputy Assistant Attorney General
STEPHEN M. ELLIOTT
Assistant Director                     PATRICIA M. McCARTHY
U.S. Department of Justice             Director
Civil Division
Federal Programs Branch                /s/ Claudia Burke
                                       CLAUDIA BURKE
SOSUN BAE                              Deputy Director
Senior Trial Counsel
LUKE MATHERS                           /s/ Justin R. Miller
BLAKE W. COWMAN                        JUSTIN R. MILLER
COLLIN T. MATHIAS                      Attorney-In-Charge
Trial Attorneys                        International Trade Field Office
U.S. Department of Justice
Civil Division                         /s/ Catherine M. Yang
Commercial Litigation Branch           CATHERINE M. YANG
                                       Trial Attorney
                                       U.S. Department of Justice
                                       Civil Division
                                       Commercial Litigation Branch
                                       PO Box 480, Ben Franklin Station
                                       Washington, DC 20044
                                       (202) 514-4336
                                       catherine.m.yang@usdoj.gov
                                       Attorneys for Defendants




                                  2
                                 A39
     Case 1:25-cv-01248-RC Document 34-1                 Filed 05/27/25 Page 1 of 21
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 73 of 93


                  UNITED STATES COURT OF INTERNATIONAL TRADE

  BEFORE:        THE HONORABLE GARY S, KATZMANN, JUDGE
                 THE HONORABLE TIMOTHY M. REIF, JUDGE
                 THE HONORABLE JANE A. RESTANI, JUDGE

  PRINCESS AWESOME, LLC; STONEMAJER,                 )
  LLC; 300 BELOW, INC.; UPWARD GLANCE,               )
  LLC d/b/a QUENT CORDAIR FINE ART;                  )
  KINGSEAL CORPORATION D/B/A WESCO                   )
  ENTERPRISES, INC.; MISCHIEF, LLC d/b/a             )
  MISCHIEF TOY STORE; SPIELCRAFT                     )
  GAMES, LLC; ROOKIE MAGE GAMES,         )
  LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
  INC.; RECLAMATION STUDIO, LLC          )
  d/b/a WITSEND MOSAIC,                  )
                                         )                  Court No. 25-00078
         Plaintiffs,                     )
                                                     )
                V.                                   )
                                                     )
  UNITED STATES CUSTOMS AND BORDER                   )
  PROTECTION; PETER. FLORES, Acting                  )
  Commissioner for U.S. Customs and                  )
  Border Protection; DEPARTMENT OF                   )
  HOMELAND SECURITY; KRISTI NOEM,                    )
  Secretary of the Department of Homeland            )
  Security: UNITED STATES INTERNATIONAL              )
  TRADE COMMISSION; DONALD J. TRUMP,                 )
  President of the United States; EXECUTIVE          )
  OFFICE OF THE PRESIDENT; and the                   )
  UNITED STATES OF AMERJCA,                          )
                                                    )
         Defendants.                                )


             DECLARATION OF SECRETARY OF STATE MARCO RUBIO

   I, Marco Rubio, hereby state as follows:

     1. I am the Secretary of State of the United States and head of the United States Department

        of State, an Executive Department of the United States. See 22 U.S.C. § 2651. As

        Secretary of State, I am the President's chief foreign affairs advisor. I carry out the




                                                I
                                              A40
     Case 1:25-cv-01248-RC Document 34-1                    Filed 05/27/25 Page 2 of 21
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 74 of 93


        President's foreign policy through the State Department and the Foreign Service of the

        United States. See 22 U.S.C. § 2651a.

     2. The statements made herein are based on my personal knowledge, on information provided

        to me in my official capacity, reasonable inquiry, and information obtained from various

        records, systems, databases, State Department employees, and information portals

        maintained and relied upon by the United States Government in the regular course of

        business, and on my evaluation of that information.

    3. The purpose of this Declaration is to confirm, in my capacity as Secretary of State and head

        of the Department of State, that a ruling for the plaintiffs in this case would cause

        significant and irreparable harm to U.S. foreign policy and national security. Such a ruling

        would derail critical ongoing negotiations with our foreign trading partners and threaten

        broader U.S. strategic interests internationally.

    4. In the International Emergency Economic Powers Act (IEEPA), see 50 U.S.C. § 1701 et

        seq., Congress granted to the President dynamic, flexible authority to respond to crises on

        a global scale. President Trump has exercised that authority to impose tariffs in response

        to crises threatening America's national security.

    5. In particular, the President found in Executive Orders 14,193 and 14,194 that the failure of

        the governments of Mexico and Canada to stop the influx of illegal drugs and illegal aliens

        across our southern and northern borders is an emergency for the United States and its

        citizens.

    6. Likewise, the President found in Executive Order 14,195 that the encouragement by the

        People's Republic of China (PRC) of PRC businesses to export illegal drugs and precursors




                                                  2
                                              A41
     Case 1:25-cv-01248-RC Document 34-1                  Filed 05/27/25 Page 3 of 21
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 75 of 93



        for manufacturing those drugs in the United States is an emergency for the United States

        and its citizens.

     7. Last, the President found in Executive Order 14,257 that our trade partners' non-reciprocal

        trading practices, including both tariff and non-tariff barriers, and resulting large and

        persistent annual U.S. goods trade deficits have given rise to acute national security threats

        driven by our hollowed-out manufacturing base, lack of advanced domestic manufacturing

        capacity, vulnerable supply chains, a defense-industrial base that depends on foreign

        adversaries, and the sensitive geopolhical environment.

     8. The United States is presently pursuing potential trade deals with Mexico, Canada, PRC,

        and dozens of other countries. These negotiations could address the urgent threats of mass

        migration at our northern and southern borders, the tlow of fentanyl into our country, and

        the erosion of our domestic production capacity caused in substantial part by the large and

        persistent annual U.S. goods trade deficient stemming from our trade partners' non-

        reciprocal trading practices.

    9. The negotiations are currently in a delicate state, with discussions ongoing and final deals

        not yet reached. In some cases, we have reached frameworks with our trading partners,

        while we continue to negotiate on details. In other cases, we have not yet reached a

        framework agreement or arrangement.

    10. These negotiations have been one of the country"s top foreign policy priorities since the

        reciprocal tariffs were announced on April 2. Reflecting the urgency of the emergency,

        much ofU.S. global diplomacy in the last six weeks has been focused on these negotiations.

    11. In each case, the negotiations are premised on the ability of the President to impose tariffs

        under IEEPA If the President is enjoined or limited from exercising his authority under




                                                 3
                                              A42
     Case 1:25-cv-01248-RC Document 34-1                  Filed 05/27/25 Page 4 of 21
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 76 of 93


        IEEPA to impose tariffs to address these urgent threats, that would cause irreparable hann

        to our efforts to secure the U.S. production and manufacturing base through our ongoing

        negotiations and other diplomatic efforts.

     12. For example, if the Court were to enjoin the President from imposing tariffs, our trade

        partners would likely believe that the President lacks power under IEEPA to promptly

        respond to their actions during the ongoing negotiations. They may also perceive such a

        ruling as a vulnerability and en-courage them to retaliate against the United States for

        attempting to impose tariffs and negotiate agreements to protect our national security. See

        Executive Order 14,266, § 3. Notably, other countries declined to retaliate against the

        United States after the President made clear he would exercise his authority under IEEPA

        to impose additional tariffs, as he did with PRC.

     13. The political branches, not the courts, are appropriately situated to handle and intervene in

        matters of foreign policy and national security. This case and the real-world diplomacy

        inherent in it exemplify why the courts must not interfere in such foreign affairs. U.S.

        foreign policy has an exceptional need for consistent implementation of the decision the

        President has already made under IEEPA. A conflicting pronouncement by this Court on

        the same issue would lead to embarrassment of the United States on a global stage.

    14. Beyond diplomatic embarrassment, which itself is dangerous as it emboldens allies and

        adversaries alike, the Court's interference would perpetuate the United States' industrial

        decline and unsustainable trade deficits. The President found in Executive Order 14,257

        that the United States' large and persistent trade deficits are a structural imbalance in the

        global trading system that has hollowed out a number of critical industries. Without robust

        domestic production capacity, the United States will not be able to produce the weapons




                                                  4
                                              A43
       Case 1:25-cv-01248-RC           Document 34-1         Filed 05/27/25       Page 5 of 21
USCA Case #25-5202           Document #2118491                 Filed: 06/02/2025        Page 77 of 93



        and other resources necessary to defend itself or :Support the critical industries necessary to

        avoid being held hostage by foreign adversaries. That weakened position will have a direct

        impact on the President's ability to conduct foreign policy and advance the United States'

        interests.

     15. Congress has reserved for itself the power to review the President's exercise of his powers

        under IEEPA.       Exercising that role, Congress considered whether to tenninate the

        President's emergency declaration, and it has appropriately declined to do so, recognizing

        the appropriateness of the President's exercise of powers and the delicate, ongoing

        international diplomacy that is unfolding as a result.

     16. It is critical to the foreign policy and national security of the United States for the Court to

        decline to enjoin or restrain the President from exercising his power under IEEPA to

        impose tariffs in recognition of the unusual -and extraordinary threats at issue in this

        litigation.



 I declare, under penalty of perjury, that the foregoing is true and correct.



 Executed on this 23rd day of May, 2025.




 Marco Rubio
 Secretary of State




                                                    5
                                                 A44
     Case 1:25-cv-01248-RC Document 34-1                     Filed 05/27/25 Page 6 of 21
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 78 of 93



                  UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE:        THE HONORABLE GARY S. KATZMANN, JUDGE
                THE HONORABLE TIMOTHY M. REIF, JUDGE
                THE HONORABLE JANE A. RESTANI, JUDGE

 PRINCESS AWESOME, LLC; STONEMAIER,     )
 LLC; 300 BELOW, INC.; UPWARD GLANCE, )
 LLC d/b/a QUENT CORDAIR FINE ART;      )
 KINGSEAL CORPORATION D/B/A WESCO       )
 ENTERPRISES, INC.; MISCHIEF, LLC d/b/a )
 MISCHIEF TOY STORE; SPIELCRAFT         )
 GAMES, LLC; ROOKIE MAGE GAMES,         )
 LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
 INC.; RECLAMATION STUDIO, LLC          )
 d/b/a WITSEND MOSAIC,                  )
                                                         )     Court No. 25-00078
        Plaintiffs,                                      )
                                                         )
                V.                                       )
                                                         )
 UNITED STATES CUSTOMS AND BORDER                        )
 PROTECTION; PETER. FLORES, Acting                       )
 Commissioner for U.S. Customs and                       )
 Border Protection; DEPARTMENT OF                        )
 HOMELAND SECURITY; KRISTI NOEM,                         )
 Secretary of the Department of Homeland                 )
 Security; UNITED STATES INTERNATIONAL                   )
 TRADE COMMISSION; DONALD J. TRUMP,                      )
 President of the United States; EXECUTIVE               )
 OFFICE OF THE PRESIDENT; and the                        )
 UNITED STATES OF AMERICA,                               )
                                                         )
        Defendants.                                      )


                                         DECLARATION

  I, Scott K. H. Bessent, hereby state as follows:

    1. I am the Secretary of the Treasury. I have been the Secretary of the Treasury since January

        28, 2025.




                                                     1
                                               A45
     Case 1:25-cv-01248-RC Document 34-1                   Filed 05/27/25 Page 7 of 21
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 79 of 93



    2. President Trump has exercised his IEEPA authority to impose tariffs in response to crises

       threatening America's national security and economy.

    3. In particular, the President found in Executive Orders 14,193 and 14,194 that the failure

       of the governments of Mexico and Canada to stop the influx of illegal drugs and illegal

       immigrants across our southern and northern borders is an emergency for the Nation and

       its citizens.

   4. The President also found in Executive Order 14,257 that our trading partners' non-

       reciprocal trading practices, including both tariff and non-tariff barriers, have given rise to

       a presently acute national security threat of large and persistent annual U.S. goods trade

       deficits, which have led to the hollowing out of our manufacturing base, lack of advanced

       domestic manufacturing capacity, vulnerable supply chains, and a defense-industrial base

       that depends on foreign adversaries.

   5. Tariffs are a crucial tool for protecting America's national security and advancing

       American foreign policy by addressing the unusual and extraordinary threats the President

       has identified.

   6. The tariffs have proven to be well-tailored to bring trading partners to the table to address

       these urgent threats. The United States is presently negotiating agreements with Mexico,

       Canada, PRC, and many of our key trading partners, in order to address the urgent- threats

       at our northern and southern borders, posed by illegal drugs, and to our domestic

       production capacity caused in subst~ntial part by the large and persistent annual U.S. goods

       trade deficient stemming from our trade partners' non-reciprocal trading practices.

   7. There are currently ongoing negotiations to address this emergency with dozens of

       countries. Those negotiations are presently in a delicate state, with discussions ongoing




                                                 2
                                               A46
     Case 1:25-cv-01248-RC Document 34-1                   Filed 05/27/25 Page 8 of 21
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 80 of 93



       and formal, final deals not yet reached. In some cases, we have reached framework

       agreements with our trading partners, while we continue to negotiate on details. In other

       cases, we have not yet reached a framework agreement.

   8. For example, on May 8, 2025, the United States and the United Kingdom announced a

      framework agreement as a result of such negotiations. The U.S.-UK framework agreement

      will bolster U.S. economic and national security by enhancing market access for American

      exporters and lowering tariff and non-tariff barriers.

   9. These negotiations have been one of the country's top foreign policy priorities since the

      reciprocal tariffs were announced on April 2.

   10. In each case, those ongoing, delicate negotiations are premised on the President's tariffs at

      issue in this case. If the President is enjoined from imposing these tariffs, it could shatter

      our negotiations with dozens of countries . .

   11. If the Court were to enjoin the President from imposing tariffs, our trading partners may

      feel a renewed boldness to take advantage of that new vulnerability by retaliating against

      the United States for attempting to impose tariffs and negotiate agreements to protect our

      national security.

   12. In short, the maintenance of the tariffs is crucial to the President's ability to conduct real-

      world diplomacy and his ability to protect the national security and economy of the United

      States.

   13. Congress considered whether to terminate the President's emergency declaration, and

      declined to do so. See H.J.Res. 72 (2025); H.J.Res.73 (2025). It is critical to the national

      security and economy of the United States for the Court to decline to block the President

      from imposing these tariffs as well.




                                                 3
                                               A47
     Case 1:25-cv-01248-RC Document 34-1                    Filed 05/27/25 Page 9 of 21
USCA Case #25-5202    Document #2118491                       Filed: 06/02/2025 Page 81 of 93




 I declare, under penalty of perjury, that the foregoing is true and correct.



 Executed on this day of May 23, 2025.




 Isl_ _ _ _ _ _ _ _ _ __

 Scott K. H. Bessent
 Secretary
 Department of the Treasury




                                                   4
                                                A48
    Case 1:25-cv-01248-RC Document 34-1                 Filed 05/27/25 Page 10 of 21
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 82 of 93



               UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE:      THE HONORABLE GARY S. KATZMANN, JUDGE
              THE HONORABLE TIMOTHY M. REIF, JUDGE
              THE HONORABLE JANE A. RESTANI, JUDGE

 PRINCESS AWESOME, LLC; STONEMAIER,        )
 LLC; 300 BELOW, INC.; UPWARD GLANCE, )
 LLC d/b/a QUENT CORDAIR FINE ART;         )
 KINGSEAL CORPORATION D/B/A WESCO          )
 ENTERPRISES, INC.; MISCHIEF, LLC d/b/a    )
 MISCHIEF TOY STORE; SPIELCRAFT            )
 GAMES, LLC; ROOKIE MAGE GAMES,            )
 LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
 INC.; RECLAMATION STUDIO, LLC             )
 d/b/a WITSEND MOSAIC,                     )
                                           )                Court No. 25-00078
        Plaintiffs,                        )
                                           )
                V.                         )
                                           )
 UNITED STATES CUSTOMS AND BORDER          )
 PROTECTION; PETER. FLORES, Acting         )
 Commissioner for U.S. Customs and         )
 Border Protection; DEPARTMENT OF          )
 HOMELAND SECURITY; KRISTI NOEM,           )
 Secretary of the Department of Homeland   )
 Security; UNITED STA TES INTERNATIONAL )
 TRADE COMMISSION; DONALD J. TRUMP,        )
 President of the United States; EXECUTIVE )
 OFFICE OF THE PRESIDENT; and the          )
 UNITED STATES OF AMERICA,                 )
                                           )
        Defendants.                        )
 ____________                              )

                     DECLARATION OF HOWARD W. LUTNICK,
                    UNITED STATES SECRETARY OF COMMERCE

 I, HOWARD W. LUTNICK, hereby state and declare as follows:

    1. I am the Secretary of Commerce for the United States and the head of the United States

       Department of Commerce, an Executive Department of the United States. See 5 U.S.C.

       § 101. The purpose of this declaration is to assert, in my official capacity and opinion, the


                                                 1
                                             A49
    Case 1:25-cv-01248-RC Document 34-1                   Filed 05/27/25 Page 11 of 21
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 83 of 93



      irreparable harm that a ruling for plaintiffs in this case will have on President

      Donald J. Trump's constitutional power to conduct foreign affairs. Such a ruling will

      fundamentally impede President Trump's foreign-policymaking abilities to address

      national emergencies that threaten the national-security and economic-security interests of

      the United States and the American people. The statements made herein are based on my

      personal knowledge and on information provided to me in my official capacity as Secretary

      of Commerce.

   2. I have been tasked by President Trump to lead his tariff and trade agenda. See Statement

      by President-elect Donald J. Trump Announcing the Nomination of Howard Lutnick as

      Secretary      of      Commerce,         The         American     Presidency        Project,

      https://www.presidency.ucsb.edu/node/375586.        As part of my duties as Secretary of

      Commerce, I have strategized with President Trump and members of his cabinet, including

      United States Trade Representative Jamieson Greer, on policies to conduct trade diplomacy

      and address grave national emergencies. Many of these national emergencies, ranging

      from the hollowing out of our defense-industrial and manufacturing base to the illicit flow

      of narcotics and the national-security threats posed by authoritarian regimes, are caused by

      our foreign-trading partners.

   3. For example, on February 1, 2025, President Trump found in Executive Orders 14,193 and

      14,194 that the failure of the governments of Mexico and Canada to stop the influx of

      illegal drugs and illegal immigrants across our southern and northern borders is a national

      emergency, threatening the lives of our citizens.

   4. Likewise, on the same day, President Trump found in Executive Order 14,195 that the

      People's Republic of China has encouraged Chinese businesses to export illegal drugs and



                                               2
                                            A50
    Case 1:25-cv-01248-RC Document 34-1                  Filed 05/27/25 Page 12 of 21
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 84 of 93



      precursors for manufacturing those drugs to the United States, which constitutes a national

      emergency that threatens the lives of our citizens.

   5. Then, on April 2, 2025, President Trump found in Executive Order 14,257 that our foreign-

      trading partners' non-reciprocal trading practices, including both tariff and non-tariff

      barriers, have produced persistent annual U.S. goods trade deficits, which has hollowed

      out our domestic manufacturing and defense-industrial base and has resulted in a lack of

      advanced domestic manufacturing capacity, a defense-industrial base dependent on inputs

      from foreign adversaries, vulnerable domestic supply chains, and a sensitive geopolitical

      environment. President Trump found the persistent annual U.S. goods trade deficits have

      resulted in a national emergency, threatening our national and economic security.

   6. President Trump determined that it was in the foreign-policy interests of the United States

      to levy a 10 percent tariff for all trading partners. In addition, depending on the significance

      of the trade imbalances with foreign-trading partners, President Trump determined that

      some trading partners would receive higher duties.

   7. Following President Trump's April 2, 2025, announcement, scores of countries

      immediately reached out to the Department of Commerce and the Office of the United

      States Trade Representative. President Trump's 10 percent tariffs for all trading partners

      went into effect at 12:01 a.m. on April 5, 2025--over two days after President Trump

      announced them. The country-specific tariff rates went into effect at 12:01 a.m. on April

      9, 2025- nearly a week after they were announced. The vast majority of these countries

      saw it in their own national interests not to retaliate against the United States, as a matter

      of their own foreign-policy objectives. In short, the preliminary U.S. foreign-policy

      objectives of the tariffs worked- foreign-trading partners that have run trade deficits in



                                                 3
                                              A51
    Case 1:25-cv-01248-RC Document 34-1                 Filed 05/27/25 Page 13 of 21
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 85 of 93



       goods for years, and helped hollow out the American manufacturing base, immediately

       came to the negotiating table.

   8. On April 9, 2025, after consultation with me and other members of his cabinet, President

       Trump announced a 90-day pause and lowered the country-specific tariffs on most

       countries to a temporary flat rate of 10 percent. See Exec. Order No. 14,266, 90 Fed. Reg.

       15625. In that same announcement, President Trump declared that the tariff rate on China

       would increase to 125 percent. In doing this, President Trump furthered the foreign-policy

       objectives of the United States in two important ways.

   9. First, countries that had approached his administration, including the Department of

       Commerce, without retaliating received the benefit of a pause designed to allow for

       substantive negotiations to remedy the national emergency. The pause has been a success.

   10. On May 8, 2025, President Trump and Prime Minister Keir Starmer of the United Kingdom

       announced the terms of the first trade deal- a deal that had been illusory for years- which

       directly benefits the U.S. manufacturing base. These terms- which I helped construct-

       reflect extensive diplomatic effort to align United States and allied supply chains and

       eliminate foreign dependencies in sensitive sectors. The deal would not have happened but

       for the International Emergency Economic Powers Act tariffs.

    11. Further, because of the IEEPA tariffs and the 90-day pause, I am, together with Ambassador

       Greer, participating in dozens of ongoing negotiations with foreign-trading partners.

       Again, such negotiations would not have happened but for the IEEPA tariffs.

    12. Second, the increased tariff rate against China applied additional pressure to achieve the

       foreign-policy objective of bringing China- the greatest contributor to the national

       emergency and a well-known strategic adversary- to the negotiating table. In 2024 alone,



                                                4
                                             A52
    Case 1:25-cv-01248-RC Document 34-1                   Filed 05/27/25 Page 14 of 21
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 86 of 93



       the United States had a trade deficit of $295 billion with China, and China's total trade

       surplus of nearly $1 trillion created excess export capacity that flooded the United States

       through other countries, as well. Yet, because of the IEEPA tariffs, the United States and

       China reached a 90-day agreement on May 12, 2025, to reduce China's tariffs on U.S.

       exports while the Trump administration works to address longstanding disputes with China.

       Under that asymmetrical agreement, reached because of the pressures of the IEEPA tariffs,

       China lowered its universal tariff rate on U.S. goods to 10 percent, while the United States

       maintained a higher rate of 30 percent.

   13. An adverse ruling by this Court, enjoining the implementation of these IEEPA tariffs or

       circumscribing the President's authority to act in this domain, threatens all of these foreign-

       policy accomplishments and objectives. IEEPA gives the President of the United States a

       pivotal tool to express his foreign policy promptly and decisively to address national

       emergencies that manifest through economic and commercial channels. An adverse ruling

       would take away one of the most important tools the President possesses that is broad,

       immediate, and adaptable enough to counter emergency threats in real time.

    14. IEEPA is a necessary tool given to the President to broadly and swiftly respond to national

       emergencies caused by the economic and commercial machinations of our foreign-trading

       partners. Other tools afforded to the President are not designed for national emergencies.

       For example, while Section 232 of the Trade Expansion Act of 1962 and Section 301 of

       the Trade Act of 1974 are indispensable tools of U.S. trade law, they are procedurally time-

       consuming and do not allow for immediate action, as IEEPA does. Under Section 232, the

       Department of Commerce has up to 270 days to conduct an investigation and submit a

       report to the President, who then has up to 90 additional days to decide whether to act, and



                                                  5
                                               A53
    Case 1:25-cv-01248-RC Document 34-1                Filed 05/27/25 Page 15 of 21
USCA Case #25-5202    Document #2118491                   Filed: 06/02/2025 Page 87 of 93



      up to 15 additional days to implement that action.           19 U.S.C. §§ 1862(b)(3)(A),

      (c)(l)(B). Similarly, under Section 301, the United States Trade Representative must

      complete an investigation within 12 months, with additional time to implement any

      retaliatory action.    19 U.S.C. §§ 2414(a)(2)(B), 2415(a){l).     IEEPA is different and

      authorizes the President to take immediate action to protect national interests where all of

      IEEPA's conditions are satisfied. Without this tool, the President's foreign-policymaking

      abilities would be severely constrained and our national security would be threatened.

   15. Beyond the practical effects that enjoining or circumscribing the President's IEEPA

      authority would have on addressing ongoing national emergencies, the real-world foreign-

      policy effects on this set ofIEEPA tariffs would be monumental. For one, an adverse ruling

      would undermine the United States-United Kingdom trade deal that was negotiated in

      reliance on the President's emergency tariff authority. In addition, an adverse ruling would

      jeopardize the dozens of similar arrangements with foreign-trading partners that I am

      negotiating. Each of these negotiations is premised on the credible threat of enforcement

      of the IEEPA tariffs. If this Court limits that authority, foreign counterparts will have

      reduced incentives to reach meaningful agreements-resulting in the status quo that led to

      the national emergency. It would destroy the carefully crafted China trade agreement,

      which is asymmetric in America's favor, in order to address the emergency of our persistent

      goods trade deficit.

   16. What's more, an adverse ruling by this Court also will affect President Trump's authority

      to invoke IEEPA to address other national emergencies of significant concern.            For

      example, on February 1, 2025, President Trump invoked IEEPA to impose tariffs on China,

      Mexico, and Canada, respectively, due to the national emergency caused by "the sustained



                                               6
                                            A54
    Case 1:25-cv-01248-RC Document 34-1                  Filed 05/27/25 Page 16 of 21
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 88 of 93



      influx of synthetic opioids," which "kill[] approximately two hundred Americans per day."

      Exec. Order No. 14,195, 90 Fed. Reg. 9121; Exec. Order No. 14,194, 90 Fed. Reg. 9117;

      Exec. Order No. 14,193, 90 Fed. Reg. 9113. And, on March 24, 2025, President Trump

      invoked IEEPA to place "secondary" tariffs on countries that purchase oil from the Maduro

      regime in Venezuela, given the threat that the regime's policies pose to U.S. national

      security. Exec. Order No. 14,245, 90 Fed. Reg. 13829. Without IEEPA, the President

      could not quickly and effectively address grave national emergencies-caused by foreign

      actors- that directly threaten the lives of Americans.

   17. The imposition of IEEPA tariffs signals to foreign governments that certain conduct-

      whether economic predation, trade manipulation, or narcotics trafficking- will incur

      serious consequences. Diluting this authority would not only unravel the current IEEPA

      actions but also would undermine future deterrence. Allies and adversaries alike monitor

      U.S. courts for signs of constraint on presidential power. A ruling that narrows IEEPA

      would have ripple effects across every domain in which economic instruments are used for

      strategic effect.

   18. For example, India and Pakistan- two nuclear powers engaged in combat operations just

      13 days ago- reached a tenuous ceasefire on May 10, 2025. This ceasefire was only

      achieved after President Trump interceded and offered both nations trading access with the

      United States to avert a full-scale war. An adverse ruling that constrains presidential power

      in this case could lead India and Pakistan to question the validity of President Trump's

      offer, threatening the security of an entire region and the lives of millions.

   19. All told, an invalidation of President Trump's ability to use IEEPA would dismantle a

      cornerstone of President Trump's national security architecture, irreparably harm the



                                                 7
                                              A55
    Case 1:25-cv-01248-RC Document 34-1                 Filed 05/27/25 Page 17 of 21
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 89 of 93



     government's ability to respond to evolving foreign threats, and severely disrupt the

     Department of Commerce's coordination of foreign policy-related economic actions on

     behalf of the President. It would jeopardize vital trade agreements, collapse ongoing

     negotiations, allow for Chinese aggression during a period of strategic competition, leave

     the American people exposed to predatory economic practices by foreign actors, and

     threaten national security. It also would come after the democratically elected United

     States Senate failed to garner the necessary votes to revoke President Trump's IEEPA

     emergency declaration on April 30, 2025.



     I declare under the penalty of perjury that the foregoing is true and correct.

     Executed this   di~ day of May, 2025, in the Ci o


                                                    Ho ar W. Lutnick
                                                    41st United States Secretary of Commerce




                                               8

                                             A56
    Case 1:25-cv-01248-RC Document 34-1                 Filed 05/27/25 Page 18 of 21
USCA Case #25-5202    Document #2118491                    Filed: 06/02/2025 Page 90 of 93



                UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE:       THE HONORABLE GARY S. KATZMANN, JUDGE
               THE HONORABLE TIMOTHY M. REIF, JUDGE
               THE HONORABLE JANE A. RESTANI, JUDGE

 PRINCESS AWESOME, LLC; STONEMAIER, )
 LLC; 300 BELOW, INC.; UPWARD GLANCE, )
 LLC d/b/a QUENT CORDAIR FINE ART;         )
 KINGSEAL CORPORATION D/B/A WESCO          )
 ENTERPRISES, INC.; MISCHIEF, LLC d/b/a    )
 MISCHIEF TOY STORE; SPIELCRAFT            )
 GAMES, LLC; ROOKIE MAGE GAMES,            )
 LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
 INC.; RECLAMATION STUDIO, LLC             )
 d/b/a WITSEND MOSAIC,                     )
                                           )               Court No. 25-00078
        Plaintiffs,                        )
                                           )
                 v.                        )
                                           )
 UNITED STATES CUSTOMS AND BORDER          )
 PROTECTION; PETER. FLORES, Acting         )
 Commissioner for U.S. Customs and         )
 Border Protection; DEPARTMENT OF          )
 HOMELAND SECURITY; KRISTI NOEM,           )
 Secretary of the Department of Homeland   )
 Security; UNITED STATES INTERNATIONAL )
 TRADE COMMISSION; DONALD J. TRUMP,        )
 President of the United States; EXECUTIVE )
 OFFICE OF THE PRESIDENT; and the          )
 UNITED STATES OF AMERICA,                 )
                                           )
        Defendants.                        )
 _ _ _ _ _ _ _ _ _ _ _ _)

                                       DECLARATION

  I, Ambassador Jamieson Lee Greer, hereby state as follows:

    1. I am the United States Trade Representative.      I have been the United States Trade

       Representative since February 26, 2025. In this capacity, I serve as the principal advisor




                                               1
                                             A57
    Case 1:25-cv-01248-RC Document 34-1                  Filed 05/27/25 Page 19 of 21
USCA Case #25-5202    Document #2118491                     Filed: 06/02/2025 Page 91 of 93



       to the President on international trade policy and the chief representative for the United

       States in international trade negotiations. See 19 U.S.C. § 2171(c)(l)(B)(C).

    2. In IEEP A, Congress granted to the President dynamic, flexible authority to respond to

       crises on a global scale.

    3. President Trump has exercised that authority to impose tariffs in response to crises

       threatening America's national security and the economy.

   4. The President found in Executive Order 14,257 that our trade partners' non-reciprocal

       trading practices, including both tariff and non-tariff barriers, have been an important

       driver of large and persistent annual U.S. goods trade deficits, which have grown over 40

       percent in the past five years, and created a presently acute threat to national security and

       the economy. The President found that structural asymmetries in our bilateral trade

       relationships significantly constrain U.S. e_xports and artificially incentivize foreign

       production. The President found further that these conditions have led to a hollowing out

       of the U.S. manufacturing and defense-industrial base, leaving the United States dependent

       upon foreign supply chains for national-security-sensitive products and with insufficient

       domestic manufacturing capacity to remain competitive in the global economy.

   5. Tariffs imposed under IEEPA are a crucial tool for protecting America's national security

       and advancing American foreign policy by addressing the unusual and extraordinary

       threats the President has identified.

   6. This case does not present an abstract question of law. The Court's ruling will have a

       concrete and immediate effect on United States national security and foreign policy.




                                                2
                                               A58
    Case 1:25-cv-01248-RC Document 34-1                   Filed 05/27/25 Page 20 of 21
USCA Case #25-5202    Document #2118491                      Filed: 06/02/2025 Page 92 of 93



    7. The tariffs have proven to be well tailored to address these urgent threats. The United States

       is presently negotiating with Mexico, Canada, and the PRC in order to address the urgent

       threats at our northern and southern borders.

   8. Furthermore, on April 9, the President issued a 90-day pause of the country-specific

       reciprocal tariffs so that he might negotiate with trading partners who are willing to take

       significant steps to remedy their non-reciprocal trading practices and align with the United

       States on national and economic security matters.

   9. The United States is currently negotiating with dozens of countries regarding the terms of

       that alignment. Those negotiations are presently in a delicate state, with discussions

       ongoing and final deals not yet reached. For example, on May 8, President Trump and

       United Kingdom (UK) Prime Minister Keir Starmer announced the general terms of an

       agreement that will provide U.S. companies with more than US$5 billion in expanded

       access to the UK market while bolstering United States national security. Similarly, on

       May 12, President Trump reached an agreement with China to reduce retaliatory tariffs and

       non-tariff barriers imposed after his April 2 Executive Order and set a path for future

       discussions to open the Chinese market to more U.S. exports. In many other cases, the

       United States continues to negotiate agreements in principle to structure final deals.

   10. These negotiations have been one of the country's top foreign policy priorities since the

       tariffs were announced on April 2. Reflecting the urgency of the emergency, much of U.S.

       global diplomacy in the last six weeks has been focused on these negotiations.

   11. In each case, those ongoing, delicate negotiations are premised on the ability of the

       President to impose tariffs under IEEP A. If the President is enjoined from exercising his




                                               A59
                                                3
    Case 1:25-cv-01248-RC Document 34-1                     Filed 05/27/25 Page 21 of 21
USCA Case #25-5202    Document #2118491                        Filed: 06/02/2025 Page 93 of 93



         authority under IEEP A to impose tariffs to address these urgent threats, the premise of

         these important negotiations will be eliminated.

     12. A decision enjoining the President from imposing tariffs under IEEPA would create a

         foreign policy disaster scenario.

     13. If the Court disrupts U.S. trade policy imperatives by enjoining the President from

         imposing tariffs, the United States' ability to address national and econo~ic security

         matters would suffer serious damage.

     14. If the Court were to enjoin the President from imposing tariffs, it will signal to our trading

         partners that the President lacks power to promptly respond to future emergencies under

         IEEP A, and they may feel emboldened to further distort the conditions of competition for

         U.S. exporters.

     15. It is critical to the national security of the United States for the Court to decline to enjoin

         the President from exercising his power under IEEP A to impose tariffs in recognition of

        the unusual and extraordinary threats at issue in this litigation.



 I declare, under penalty of perjury, that the foregoing is true and correct.



 Executed on thi~?afay of May, 2025.




     assador Jamieson Lee Greer
United States Trade Representativ·e



                                                   4
                                                 A60
